     Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 1 of 64



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16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                    SAN FRANCISCO DIVISION
18
     ORACLE AMERICA, INC.                         Case No. 3:10-cv-03561-WHA
19

20                 Plaintiff,                     SUPPLEMENTAL DECLARATION OF
                                                  TRUMAN FENTON
21          v.
                                                  Dept.: Courtroom 9, 19th Floor
22   GOOGLE INC.
                                                  Judge: Honorable William Alsup
23                 Defendant.
24                                                Tutorial: April 6, 2011, 1:30 p.m.

25                                                Hearing: April 20, 2011, 1:30 p.m.

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     SUPPLEMENTAL DECLARATION OF TRUMAN FENTON                            CIVIL ACTION No. CV 10-03561
     Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 2 of 64



 1          I, Truman Fenton, hereby declare and state as follows:
 2          1.      I am an attorney with the law firm of King & Spalding LLP, which is counsel of
 3
     record for Google Inc. I have personal knowledge of the facts set forth in this declaration unless
 4
     otherwise noted, and, if called to do so, I could and would competently testify thereto.
 5
            2.      Exhibit G is a true and correct copy of John Gough, Virtual Machines, Managed
 6
     Code and Component Technology, at 1-2 (IEEE 2005) obtained from the CiteSeerX scholarly
 7
     document repository hosted by Pennsylvania State University.
 8

 9          3.      Exhibit H is a true and correct copy of John Aycock, A Brief History of Just-In-

10   Time, 35 ACM Computing Survs. 97 (June 2003) obtained from the Association for Computing

11   Machinery website.
12          4.      Exhibit I is a true and correct copy of excerpts of Plaintiff’s Responses and
13   Objections to Defendant Google Inc.’s First Set of Interrogatories to Plaintiff Oracle America,
14
     Inc. (Nos. 1-10).
15
            5.      Exhibit J is a true and correct copy of Steve Lohr, Software War Pits Oracle vs.
16
     Google, N.Y. Times, August 30, 2010, obtained from Westlaw.
17
            6.      Exhibit K is a true and correct copy of FoxBusiness.com, “Google Android,
18

19   Video Games Dominate Mobile World Congress,” http://www.foxbusiness.com/technology/

20   2011/02/21/google-android-video-games-dominate-mobile-world-congress/ (Feb. 21, 2011)

21   obtained from the FoxBusiness.com website at on Mar. 31, 2011.

22          7.      Exhibit L is a true and correct copy of WSJ.com, “Mobile World Congress:
23   Google’s Android Big in Barcelona,” http://online.wsj.com/search (Feb. 17, 2011) obtained from
24
     the WSJ.com website on March 31, 2011 by navigating to the WSJ.com website, entering
25
     “Google Android Barcelona” in “Search for” box; clicking “Search”; and selecting the link
26
     entitled “Mobile World Congress: Android Big in Barcelona.”
27

28


     DECLARATION OF TRUMAN FENTON                                               CIVIL ACTION No. CV 10-03561
     Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 3 of 64



 1          8.      Exhibit M is a true and correct copy of a post on Jonathan Schwartz’s Blog
 2   entitled “Congratulations Google, Red Hat and the Java Community” that is dated Nov. 5, 2007.
 3
     This document was obtained from http://blogs.sun.com/jonathan/entry/congratulations_google
 4
     on Mar. 31, 2011.
 5
            9.      Exhibit N is a true and correct copy of excerpts of J. Gosling et al., The NeWS
 6
     Book at 19 (Springer-Verlag 1989).
 7
            10.     Exhibit O is a true and correct copy of a newsgroup message posted by James
 8

 9   Gosling entitled “Re: Eolas acquires milestone internet software patent” and dated Aug. 21,

10   1995. This document was obtained from the World Wide Web Consortium (W3C) website on

11   November 11, 2010.
12          11.     Exhibit P is a true and correct copy of excerpts from the Microsoft Press
13   Computer Dictionary 374 (2d ed. 1994).
14
            12.     Exhibit Q is a true and correct copy of excerpts from David Gries, Compiler
15
     Construction for Digital Computers at 244-45 (John Wiley & Sons, Inc. 1971).
16
            I declare under penalty of perjury under the laws of the United States of America that the
17
     foregoing is true and correct and that this declaration was executed this 31th day of March, 2011,
18

19   in Austin, Texas.

20

21          Dated: March 31, 2011
22

23

24

25                                                       ______________________
26                                                       Truman Fenton
27

28


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     SUPPLEMENTAL DECLARATION OF TRUMAN FENTON                                 CIVIL ACTION No. CV 10-03561
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 4 of 64




                      EXHIBIT G
                 Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 5 of 64


                   Virtual Machines, Managed Code and Component Technology

                                                        John Gough
                                             Queensland University of Technology
                                                     Brisbane, Australia


                             Abstract                                   achieved — a very important factor in the days of tiny mem-
                                                                        ories.
       Abstract machines have been used as an implementation               The P-machine was designed to support just one pro-
    mechanism for programming languages for more than thirty            gramming language, although it was expressive enough to
    years. In their latest incarnation execution engines based on       support some other languages also. A later development of
    virtual machines offer “Managed Execution”. The implica-            the concept was U-Code[3] which was used as an interme-
    tions of this change go far beyond the superﬁcial advan-            diate form for a number of mainstream commercial com-
    tages of platform portability and go to the heart of software       pilers for several languages on many target machines. With
    reliability.                                                        U-Code, as with P-Code, the operational semantics of the
       In this paper it is argued that managed execution plat-          instructions are deﬁned by an abstract stack-based automa-
    forms such as the .NET Common Language Runtime and                  ton. It may be argued that the main role of the abstract ma-
    the Java Virtual Machine form the only reasonable basis for         chine at this time was one of compiler factorization. By us-
    trustworthy component software. There is also an overview           ing the common intermediate form, the problem of com-
    of current research in this ﬁeld, including the vexed ques-         piling N different languages for M different machines is
    tion of version evolution.                                          reduced to producing N “front-ends” and M “back-ends”
                                                                        rather than N × M monolithic compilers.
                                                                           A typical expression evaluation in such a system would
                                                                        be fetching the value of a 8-byte ﬂoating point ﬁeld b of
                                                                        some structure a. Typical code for a stack machine of the
    1. Introduction – A Brief History                                   era would be—
                                                                                ldadr ‘a’   // load address of ‘a’
       The deﬁnition of abstract machines as a mechanism for                    ldc.i4 4    // offset of ﬁeld ‘b’
    reasoning about programs goes back to the dawn of com-                      padd        // pointer arithmetic
    puter science as we now understand it. The use of such ma-                  deref.r8    // load 8-byte real
    chines to deﬁne program representation for compilers dates          Several things are worth noting at this stage: the front-end
    back at least to Wirth’s “P-machine” in 1973[1]. The P-             apparently needs to know the layout of the structure on the
    machine was a stack-based abstract machine intended to de-          target machine, and the language is untyped except for the
    ﬁne an intermediate form for the “portable” Pascal com-             integer/ﬂoating point separation. Although front-ends based
    piler. Porting the compiler to a new execution platform re-         on this scheme produced “portable” code, the output was
    quired the creation of a new “back-end” that transformed            generally parameterized for each target machine. My own
    the instructions of the abstract machine into the binary code       Gardens Point compilers were typical[4]. They required to
    of the target machine. However, a standard part of the port-        know the following target information: alignment rules, ar-
    ing process was to write an interpreter to simulate the P-          gument assembly conventions, stack mark size and which
    machine on the new target, as a ﬁrst step in the bootstrap          of three possible methods were used for passing structures
    process. This particular strategy had an unforseen conse-           by value.
    quence when Kenneth Bowles at UCSD[2] dispensed with                   Abstract machines have also played an important part in
    the back-end and wrote tiny interpreters for the “P-Code”           the implementation of specialist languages. The Warren Ab-
    hosted on the multitude of incompatible microprocessors             stract Machine[5] for the Prolog language is a typical ex-
    that were appearing in the early 1970s. The use of an ab-           ample. There are at least two factors at work here. Lan-
    stract machine in this context was pivotal because of the           guages that have dynamic aspects that make static compila-
    simplicity of the interpreter that was needed. A further            tion unattractive have routinely used interpretation for their
    beneﬁt was the extremely high code density that P-Code              implementation. The interpreter emulates an abstract ma-




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                 Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 6 of 64
    chine that bridges the semantic gap between the source lan-         (JIT). The “slim binaries” that were the distribution for-
    guage and the instructions of the host machines. Further-           mat were for a single language (Oberon-2) but were used
    more, the use of an intermediate language factors the im-           unchanged on different architectures. The distribution form
    plementation problem when multiple machine architectures            was extremely compact, despite the necessary presence of
    are targetted.                                                      the metadata. The mind-blowing result from the research
       So far, according to this brief history, abstract machines       was that the time saved in reading the smaller binary from
    have been used in two ways. A stream of instructions for an         the disk more than compensated for the processor time to
    abstract machine may be used, transiently, as an intermedi-         perform code generation within the installer.
    ate representation for program texts inside factored com-              And then in May 1995 language Java was announced
    pilers. Alternatively, the instructions for the abstract ma-        by Sun Microsystems[9]. The distribution format of Java is
    chine have been the end product of the compiler, to be sub-         part of the deﬁnition of the language, and is based on an
    sequently executed by an interpreter when the program is            abstract machine: the Java virtual machine (JVM)[8]. Java
    run.                                                                was always intended to be executed either by interpreta-
       In 1989 a further possibility became apparent. In that           tion or by JIT compilation, and still is. The output of the
    year the Open Software Foundation called for proposals              Java compiler is one or more “class” ﬁles for every Java
    for an Architecture Neutral Distribution Form (ANDF) for            source ﬁle. Each such class ﬁle contains the “bytecodes”
    computer programs[6]. The idea was that programs written            that are the instructions for the stack-based virtual machine
    in any source language would be compiled into an archi-             together with the metadata that is necessary to allow true
    tecture neutral form, supported by the facilities of a stan-        target independence. The new element that Java added to
    dard environment. Each such program could be run on any             the abstract machine story was veriﬁcation. Since all user-
    machine that possessed an “Installer” utility. The installer        declared data is statically typed in every class ﬁle it is pos-
    would complete the compilation process by transforming              sible to use a lightweight “theorem prover” to check that
    the ANDF into native code for the particular computer.              the code is type-safe and hence memory-safe. Now, every
       It is relevant to note that the demands of ANDF necessi-         legal Java program is necessarily type-safe so it may ap-
    tate a higher level of abstraction than is the case for U-Code      pear to be overkill for the JIT to re-check what the com-
    and similar abstract machine forms. In this case there can be       piler has already guaranteed. This would certainly be the
    no “parameterization of output for the target machine” since        case if the class-ﬁles were only a transient intermediate rep-
    the target is unknown at compilation time. Such matters as          resentation between compiler phases. However, the genera-
    the layout of structures needs to be deferrred for the installer    tion of the class ﬁles and the invocation of the JIT are sepa-
    to decide. The code of our previous code snippet needs to           rated both temporally and spatially. The browser that down-
    contain symbolic information. Something along the follow-           loads a “Java” class ﬁle as a component of an applet cannot
    ing lines is needed, where we have arbitrarily assumed that         trust that the bytecodes were generated by a correct com-
    the type of a is AType from module Mod—                             piler, nor that the code has not been modiﬁed either acci-
       ldadr Mod.AType::‘a’       // load adr of ‘a’                    dentally or with evil intent.
       ldfld real64 Mod.AType::‘b’// load ﬁeld value
    Consider the second instruction. Field names need to be                The JVM was designed with the goal of supporting just
    qualiﬁed with the type of the ﬁeld and the type of the struc-       one language: Java. Nevertheless with more or less difﬁ-
    ture to which the ﬁeld belongs. Furthermore, the distribu-          culty the JVM can support (type-safe subsets) of an alarm-
    tion form must contain type declaration metadata sufﬁcient          ingly long list of languages.
    to allow the installer to lay out the data.                            The ﬁnal event in our brief history took place in mid-
       ANDF was not a success in the market, although most              2000, when Microsoft announced their .NET system. This
    compiler people agreed that it was a stunningly good idea.          system is supported by the Common Language Runtime
    At least part of the problem was the very high levels of            (CLR), another stack-based abstract machine. It features a
    symbolic information that ANDF contained. Major software            more expressive type system than Java, and is explicitly de-
    vendors tended to be spooked by the fact that anyone with           signed to support a wide range of languages — including
    an ANDF distribution could reconstruct fully typed, read-           those that are type-safe and those that are not. The type-safe
    able source code with minimal effort.                               ones can be veriﬁed by the JIT while the the type-unsafe
       The next signiﬁcant step in our saga arose from the              ones skate on the same thin ice as any other binary pro-
    doctoral research of Michael Franz[7], a student at ETH,            gram representation. The authoritative source on the Com-
    Zurich. This work was continued later at UCI. Michael               mon Language Infrastructure which includes the CLR, is
    gave a ﬁnal twist to the installer idea by invoking the in-         the annotated standard[10].
    staller each time the program was loaded, rather than just             Generically we refer to the CLR and the JVM are being
    once when the progam was installed on the machine. Nowa-            managed execution systems. They are managed in the sense
    days, we would call the “installer” a just-in-time compiler         that the ﬁnal translation to machine code is controlled by




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                    Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 7 of 64
    the explicit type and accessibility declarations that reside in             compose binary components to create programs that are ro-
    the metadata of the distribution form. Data is also managed                 bust and perhaps even correct. It might be added that a fur-
    in the sense that objects are allocated and later deallocated               ther challenge is to ensure that such programs continue to
    by a trusted garbage collector within the runtime. The ab-                  operate correctly in the face of the evolution of their com-
    sence of explicit deallocation (and re-allocation) of memory                ponent parts. This last element is discussed in Section 4.
    is a precondition of any proof of type- and memory-safety                       The traditional means by which software complexity has
    in such systems. An early comparison of the two virtual ma-                 been tamed is by the use of abstraction. That is, parts of the
    chines is the paper[11].                                                    program are replaced by abstract representations, thus lim-
                                                                                iting the domain of analysis that is required to reason about
    2. Why Managed Execution?                                                   the behaviour of the whole. Implicit in the validity of this
                                                                                approach is the naı̈ve belief that the abstraction captures all
        Both .NET and Java have become key technologies in                      of the interactions that propagate across the boundaries of
    the contemporary software world. This success may appear                    the program parts. Many of the advances in programming
    paradoxical since both systems suffer from the same issues                  languages in the last 30 years have been introduced to pro-
    that doomed ANDF. Despite the best efforts of the “code ob-                 gressively increase the accuracy of the abstract representa-
    fuscators” decompilation of code is still possible. We must                 tions and hence reduce the naı̈vity of the belief. Three brief
    conclude that there are other advantages that counter the                   examples will sufﬁce to make the point —
    risks of including symbolic content with the distribution.                    • modular languages guarantee that functions may only
    The things that are different between 1989 and 2005 are                         be called with correctly typed arguments
    the “world-wide web”, web services, and the emergence of
                                                                                  • fully type-safe languages guarantee that pointer refer-
    component technology.
                                                                                    ents can only be of the declared type
        The importance of the web to the success of managed
    execution platforms seems indisputable. In the case of Java                   • languages with declarative accessibilty control enforce
    the possibility of writing browser applets drove the early up-                  the need to know principle
    take of the language, while web services featured in all of                 Every practising software engineer is familiar with the may-
    the early .NET publicity 1 . Despite all of this emphasis on                hem that results when these guarantees break down, as a re-
    easy access to the web, and the lure of software portabil-                  sult of memory deallocation faults for example.
    ity, it is contended here that the real importance of managed                   Perhaps the most elaborate example of this approach to
    execution derives precisely from the fact that it is managed.               software design is the “design by contract” methodology
        Here is the main claim of this paper —                                  incorporated into the programming language Eiffel. In this
    Managed execution provides the only resonable basis on                      case software parts may be annotated with contracts in the
    which the promise of component technology may be real-                      form of preconditions, postconditions and invariants. These
    ized.                                                                       contracts are then enforced by a mixture of compile-time
                                                                                and run-time checks. The evidence seems to be that such
    2.1. Component Technology                                                   mechanisms do indeed allow extremely robust and trustwor-
                                                                                thy software to be constructed.
       The term component technology has acquired somewhat                          All of this, so far, has been good news about which soft-
    overloaded semantics so it should be clariﬁed that in this pa-              ware engineers may be justly proud. The bad news is that all
    per the term is used in the sense of Szyperski[12]. That is —               of the guarantees and safeguards described above are virtu-
    “Software components are binary units of independent pro-                   ally useless in the context of component software!
    duction, acquisition and deployment that interact to form a                     Consider the simple example of a program component
    functioning system”. Components are thus —                                  which depends for its correctness on the fact that a par-
                                                                                ticular ﬁeld of some object type may only be changed by
        • units of independent deployment                                       the code at one program point. Such ﬁelds are safeguarded
        • units of third-party composition                                      by being declared private. Unfortunately, if references to
                                                                                the enclosing object are accessible to other components the
        • deployed in binary form
                                                                                ﬁeld may be mutated either through program error or by ma-
    The key issue of component technology, in this context, is                  licious intent. Declarative privacy counts for nothing in a bi-
    the software engineering means by which third parties may                   nary component environment. Recall, for example, that the
                                                                                buffer overﬂow exploits that are a commonplace in vandal-
    1    Indeed the last of the code-names used within Microsoft for what be-   ware seek to mutate function return addresses. In such cases
         came .NET was the excruciating NGWS, an initialism for “next gener-    the target location is so “private” that high level languages
         ation web services”.                                                   do not even have a mechanism to refer to the datum.




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                 Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 8 of 64
       The issue is that all of the safeguards based on program-        tent, then the same invariants are safe against accidental vi-
    ming language mechanisms depend on the compiler for en-             olation by program errors in other components.
    forcement. With binary deployment of components, partic-
    ularly those produced by third parties, neither the compiler
    nor the integrity of the deployment mechanism are a given.          3. Some Research Issues
    This is precisely the problem that managed execution uses
    veriﬁcation to solve.                                                  Managed execution systems, as they currently exist, en-
                                                                        force the constraints of the type declarations of the pro-
                                                                        grams that they execute. This is sufﬁcient to ensure mem-
    2.2. Safety and Security                                            ory safety of programs, and to ensure the absence of certain
                                                                        kinds of interference between components. To achieve even
        It is important to distinguish between the separate con-        this is an important advance, however the kinds of invari-
    cerns of safety and security. Memory safety and its pre-            ants that can be guaranteed by such mechanisms are syn-
    requisite type-safety are necessary preconditions for forms         tactic and static. There is a fascinating spectrum of open
    of program analysis based on abstraction. We need to be             research possibilities that might broaden the range of pro-
    able to reason piecewise about the behaviour of program             gram properties that managed execution might ensure.
    components secure in the knowledge that components do                  There are also interesting research issues that have to do
    not invalidate each others declarative invariants. This safety      with the implementation of such systems.
    guarantee is precisely that which veriﬁed, managed execu-
    tion provides.
        Security is quite another matter. Both of the managed ex-       3.1. Implementation Issues
    ecution systems that we consider provide security mecha-
    nisms that regulate the security-relevant actions that partic-          Publicly accessible source code for both Java and
    ular components may perform. It is interesting to note that         CLR implementations exist, facilitating research on lan-
    checking of security permissions requires a costly traver-          guage compilers and JIT compilers. The question of which
    sal of the whole chain of activation records, that is, a stack      optimizations should be performed by each kind of com-
    walk. This is necessary since it is not the permissions of a        piler is still the subject of some experimentation, and could
    particular function that is in doubt, but the permissions of        very well have a different answer for the CLR and the JVM.
    the complete chain of callers on whose behalf the function              Reliance on just-in-time compilation also brings with it
    has been invoked.                                                   the possibility, or should that be the challenge, of using
        Security is a separate concern to memory safety. The fact       the extra information available at runtime to generate faster
    that the veriﬁer has guaranteed the type-safety of an ap-           code than is possible in an “ahead-of-time” compiler. The
    plet is of little consolation after the applet has reformatted      ﬁeld of dynamic compilation and optimization is very ac-
    the disk. Nevertheless, the enforcement of memory safety            tive one with products starting to move from the laboratory
    is a necessary foundation for a separate security mecha-            to the mainstream.
    nism. Consider the possible modes of attack against a stack-            A more basic kind of investigation involves the mecha-
    walking security permission checker. One exploit would be           nisms of veriﬁcation. It turns out that the algorithm spec-
    to falsify the permissions that a piece of code possesses. An-      iﬁed for veriﬁcation in Java can become computationally
    other might be to falsify the call chain record by overwrit-        costly in some pathological cases. Alternative methods of
    ing a return address. Both of these attacks are impossible in       veriﬁcation based on “proof carrying code” seem promis-
    a veriﬁed, managed execution environment.                           ing.
        A more plausible security exploit involves managed code             Of course, it is always necessary to ensure correctness
    calling out to native (unmanaged) code. Once beyond the             of the algorithms (and of their implementation) that man-
    oversight of the veriﬁer, anything goes. For this reason            aged execution relies on. The issues can be subtle. Here is
    permission to invoke unmanaged code must be carefully               a favourite example that nicely illustrates the subtle issues
    guarded and sparingly granted in managed execution sys-             involved. One of the features of the Common Type System
    tems.                                                               (CTS) of the CLR is the possibility to mark instance ﬁelds of
        Some people ﬁnd it somewhat artiﬁcial that discussions          structured types as initonly. The idea is that such ﬁelds are
    of such matters as type-safety are conducted in the language        initialized at object creation, and are afterward immutable.
    of conﬂict. We reason about “attackers” and try to remove           This is a really useful feature in practice, since programs
    “security vulnerabilities”. This is neither a sign of paranoia,     may be designed to use such ﬁelds to hold identity data,
    nor a preoccupation with fantasy games. If the invariants of        permissions and the like. In C# we mark such ﬁelds as read-
    a component are safe against an attacker with malicious in-         only —




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                    Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 9 of 64
        public class C {                                                      of the above code snippet shows how it reads in CIL lan-
            public readonly long serialNm;                                    guage. As a former, security-guru colleague of mine used
            ...                                                               to say “To be good at this stuff you need to have the crimi-
            public C(long sn) { // Constructor                                nal mind”. In any case the third rule that is needed is —
                serialNm = sn;  // assign immutable value
                                                                                  • base class constructors may only be invoked on the
                ...
                                                                                    newborn object within a constructor for a derived class
    Compiling for the .NET Common Language Runtime[13]
    correctly warned that in the ﬁrst release of .NET the C#                  The ﬁrst three lines of the constructor body in the code snip-
    compiler enforced this constraint but the veriﬁer did not.                pet are legal, and indeed are compulsory. These lines invoke
    As might be hoped, later releases of the CLR refuse veriﬁ-                the base class constructor on “arg.0”, which is the location
    cation to programs that attempt to mutate an initonly ﬁeld.               of the reference to the object under construction. The rather
        In the description of what initonly means, the wording                similar looking second call in the code is illegal according
    “... and is afterward immutable” seems perfectly clear, but               to this new rule as “arg.1” is the incoming argument, that is,
    is not the kind of rule that a veriﬁer may check directly.                the intended victim of the exploit 3.
    What we need is an operational formulation of a test that
    checks this constraint. Here is a candidate set —                         3.2. More Expressive Type Systems
        • initonly ﬁelds may only be set within a constructor for                One approach to strengthening the guarantees of man-
          their enclosing type                                                aged execution involves extension of the type-system. An-
        • constructors may only be called as part of the creation             other category of research involves the addition of such
          of an object of the type, or as part of the creation of an          things as program assertions and protocol checks to the
          object of a derived type                                            platform-enforced repetoire.
                                                                                 In essence, current managed execution systems enforce
    The “or as” part of the second rule is necessary, since when
                                                                              the declarative constraints of the type systems of their
    an object of a derived type is being constructed the (perhaps
                                                                              hosted programs. In principle any declarative aspect of a
    private) ﬁelds of the base type must be initialized by invok-
                                                                              type system that is capable of being checked by an effec-
    ing a base class constructor on the newborn object of the
                                                                              tive procedure might be added to the execution engine.
    derived type.
                                                                                 Here is a simple example. Languages such as Ada and
        It turns out that the candidate rule set is insufﬁcient, since
                                                                              Pascal provide for the declaration of subrange types, the
    it does not prevent a constructor from being called more
                                                                              values of which are restricted ranges of some whole-number
    than once on the same object. Here is an exploit 2 which mu-
                                                                              type. It is usual for the compiler to ensure that every assign-
    tates an initonly ﬁeld, even in the presence of the candidate
                                                                              ment of a new value to a datum declared to be of such a type
    rule set —
        public class D : C {    // D derives from C                           respects the constraint. In a single language, known com-
          ...                                                                 piler environment consumers of such types do not need to
          public D(C victim, long newVal) {                                   perform range tests on values of the type. In a multi-vendor
            ldarg.0             // push ‘this’ ref.                           component environment no such trust could be justiﬁed, but
            ldarg.2             // push newVal arg                            a managed execution engine could statically guarantee en-
            call instance void C::’.ctor’(int64)                              forcement of the value constraints. As it turns out neither
            ldarg.1             // push victim ref.                           of our example managed platforms provides for subrange
            ldarg.2             // push newVal arg                            types in their underlying type system, and it is hard to make
            call instance void C::’.ctor’(int64)
                                                                              a strong case for such an introduction, given the low cost of
          }
                                                                              range testing at the point of use.
    The body of the constructor for type D is shown in Com-
                                                                                 The more interesting issue of execution engine enforce-
    mon Intermediate Language (CIL), where calls to construc-
                                                                              ment of program invariants such as pre- and post-conditions
    tors use the invariable name “.ctor”.
                                                                              has received some attention. Nam Tran’s doctoral research
       D is a dummy class, we only use objects of this type
                                                                              at Monash University has involved implementing Eiffel-
    to do our dirty work. The trick is that we have passed in
                                                                              like contracts with the support of a modiﬁed version of the
    the victim object of type C as an argument to the dummy
                                                                              “shared source” version of the CLR.
    constructor. The second rule above does not forbid us from
                                                                                 Almost all of the enforcement of managed execution sys-
    passing this argument to a call of the base class construc-
                                                                              tems have to do with static features of the type system. Ac-
    tor along with the new value for the supposedly immutable
                                                                              cessibility constraints, conformance to the rules of sub-type
    ﬁeld. We cannot express this behaviour in C#, so the body
                                                                              3    And of course if you are wondering, overwriting “arg.0” by “arg.1”
    2    I am happy to share this exploit, since it does not work any more!        doesn’t get past the veriﬁer either!




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                 Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 10 of 64
    polymorphism, and fulﬁlment of contracts to implement               cal problem arises when a newly installed application brings
    named interfaces, are the kinds of things that are guaran-          with it a new version of a DLL that is used by an existing ap-
    teed. There are a whole range of dynamic issues that relate         plication. After installation of the new program some appar-
    to correctness of component systems. These dynamic rules            ently unrelated program breaks. Re-installation of the bro-
    may be expressed in terms of protocols. Protocols specify           ken program restores that program’s functionality, but the
    such things as rules that certain methods may only be called        previously installed program now does not work. This situ-
    if other calls have preceeded the call in certain allowed pat-      ation is colloquially known as “DLL Hell”. It is caused by a
    terns. It is known that in some cases the rules cannot be de-       failure of backward compatibility in the evolution of the li-
    scribed in terms of ﬁnite state machines. The understand-           brary that is shared by the two applications.
    ing of such rules is an active area of research. An asso-               Such a backward compatability failure does not neces-
    ciated open question is — how can such protocols be en-             sarily indicate incompetence on the part of the software
    forced within a component framework that allows for third           provider. It is an unfortunate fact that programs sometimes
    party composition of systems?                                       depend on library behaviours that are outside that speciﬁed
        Finally, it may be noted that both of our example man-          in the application programming interface (API), that is, they
    aged execution systems have announced enhancements to               rely on undocumented behaviour. Furthermore it is some-
    their underlying type systems to support parametric poly-           times necessary to modify even the documented behaviour,
    morphism, or “generics” as it is more commonly called. Sun          for example to eliminate a security vulnerability. In any case
    Microsystems and Microsoft have adopted very different              the problem is particularly difﬁcult in systems that rely on
    implementation strategies for this very signiﬁcant enhance-         global registries.
    ment. Sun has chosen to take a less efﬁcient implementa-                The problems of DLL-hell are lessened in the .NET
    tion mechanism, but one that leaves the JVM unchanged.              framework, which provides for “side-by-side” execution. In
    Microsoft has enhanced the CLR with some additional in-             this system the identity of loadable assemblies depends on
    structions and lots of new metadata so that the JIT can spe-        a four-part version number, and a cryptographically strong
    cialize code for particular instantiations of generic types.        originator signature. Every application may set a policy that
                                                                        allows it to choose between the latest version of a shared
    4. Version Evolution                                                library, or to insist on one exact version. There are sev-
                                                                        eral intermediate policy possibilities. All of the various li-
       Software evolution is one of the difﬁcult issues of our          brary versions may co-exist in the “global assembly cache”
    time. As many an elderly COBOL programmer remarked in               (GAC), and simultaneously executing applications may run
    the late 1990s “Nobody expected this software to be around          different versions of the same library “side-by-side” as the
    for so long”. In the past the problems have been less for           name implies. More to the point for component based sys-
    monolithic software, particularly where programs are stat-          tems different components of the same application may use
    ically linked. However for distributed software, and even           different versions of the same library. This possibility effec-
    more so for component software the problems of version              tively uncouples the version dependencies of the different
    evolution have become acute. This is a problem that has re-         components.
    ceived a lot of attention within the Microsoft world, but no            The .NET system makes DLL-hell a thing of the past, or
    component system can ignore these issues.                           at least a thing of a rapidly receding present. Sadly how-
       The rest of this section summarizes some informal dis-           ever any belief that the version evolution problem is now
    cussions. Credit for the key ideas of these proposals be-           fully solved is premature. The problem is that not all as-
    longs to Chris Brumme, Patrick Dussud, Anders Hejlsberg,            semblies may be executed side-by-side. For example, if a
    Jim Miller, Clemens Szyperski, Tony Williams and others             library controls some unique resource of the machine then
    within Microsoft. Raising of these topics publicly should           only one version may run concurrently. Such a library must
    not be taken as any kind of endorsement of the proposal by          be shared, and different versions cannot execute side-by-
    Microsoft, nor as a committment to implement any of these           side. Worse still, as more of the operating system software
    ideas in any future product.                                        migrates to managed code, more of the system-supplied ob-
                                                                        jects will lock in particular versions of their deﬁning types.
    4.1. The Perils of Registry                                             Conﬂicts between components may be indirect. Suppose
                                                                        two components depend on different versions of the same
        One of the most difﬁcult problems for component based           shared library, A say. Let us further suppose that library
    systems is that of version evolution. The problem is famil-         A is intended to to permit side-by-side execution. Unfor-
    iar to Windows system administrators. Pre-.NET component            tunately, if different versions of A depend on different ver-
    systems share dynamically linked libraries (DLLs) the iden-         sions of some second library, B say, then if B does not sup-
    tity and location of which is held in a global registry. A typi-    port side-by-side execution, then neither can A. It seems




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                 Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 11 of 64
    that as DLL-hell recedes, GAC-hell looms on the horizon.            A platform type cannot derive from a base class that is a li-
                                                                        brary type, nor may it implement an interface that is a li-
                                                                        brary type. Rather less obviously platform types may not
    4.2. Platform and Library Types
                                                                        allow library methods to escape in (for example) arrays of
                                                                        System.Object or onto a system clipboard.
        It is likely that the problems of version evolution are fun-
    damentally intractable, but there are some interesting ap-          Using Platform and Library Types The separation be-
    proaches for at least managing the problem. In particular,          tween platform and library types only becomes signiﬁcant
    it is important to lessen the domino effect caused by chains        at the boundaries of software components. Creators of com-
    of dependencies between library components as described             ponents will expect their components to have to use what-
    above.                                                              ever version of the platform types that the platform offers.
        One possibility receiving some debate currently involves        But since every other component of the application will nec-
    adding a new declarative attribute to type deﬁnitions. At its       essarily use the same version, there is no possibility of con-
    simplest the idea is to mark every type as being either a plat-     ﬂict.
    form type or a library type. Each denotation implies a con-             Components may use library types of their own choos-
    tractual obligation as to future evolution. Library types are       ing to implement their own behaviour. They will thereby ac-
    free to evolve between versions, but guarantee that differ-         quire a dependency on a particular library or libraries, but
    ent versions will be able to execute side-by-side. Platform         they can deploy with the version of the library that they de-
    types are bound to a much higher level of compatability. Ap-        pend on, and lock down that exact version if necessary. Pro-
    plications do not have a choice as to the version of a plat-        vided that the component does not expose the dependency
    form type that they use. As the name implies, the software          to its users, there will be no conﬂict if another component
    must use whatever version of the type that the platform sup-        has locked in a different version of the same library type. In
    plies, and all components on the machine will use the same          effect, these constraints mean that components must inter-
    version.                                                            act and communicate using only platform types. If, contrary
        Platform types are not capable of side-by-side execution,       to this advice, components communicate by exchanging li-
    either because they depend on a non-sharable resource, or           brary types then the components must agree to use the same
    because they are locked by a dependency on the underlying           exact library version. This clearly places a very strong lim-
    operating system or even the CLR version. For example the           itation on third-party composition of such components.
    character string type System.String must be a platform type,
    since the type is built in to the execution engine.                 Designing Platform Types Platform types appear to be
                                                                        more versatile, so it may appear attractive to make as many
    Dependencies The constraints on the dependencies be-                types as possible platform types. This is not a good idea.
    tween the two categories of types can be easily deduced.            The evolution of platform types is necessarily slow and
        Library types may freely depend on platform types. They         painstaking. Platform types have contracted to maintain an
    may use platform types in the implementation of their own           almost impossibly high level of backward compatability.
    behaviour, and may expose platform types in their visible           When a new version is released every existing application
    interface. Any such dependency does not constrain the evo-          will have to use it ... so it better just work. We may con-
    lution of the type, nor does it add further dependencies to         clude that an extremely high level of quality assurance will
    users of the type. Library types may also depend on other           be needed to maintain platform types, and this will be ex-
    library types. This will make the type dependent on a par-          pensive.
    ticular version of the other types. If the “other” library types       The challenge is that the required compatibility for plat-
    are not exposed in the visible interface of the type, then the      form types is not just at the level of using the same method
    users of the type do not become contaminated by spurious            signatures in the binary form, but at the behavioural level.
    version dependencies. In a typical scenario several library         Every aspect of documented behaviour must be maintained
    types would be deﬁned in a single library. These types will         in new versions of the type. Conversely, any aspect of un-
    depend on each other, but will evolve together, compatibly,         documented behaviour visible to users provides the oppor-
    as their containing library evolves.                                tunity for user code to be broken by future version evolu-
        Platform types, on the other hand, are bound by a stricter      tion.
    regime. A platform type may depend on library types in its             Choosing to create a platform type should thus be ap-
    implementation, if necessary it can deploy with the library         proached with some caution. Since the users of the code
    version that it requires. However, a platform type must never       will be very upset if the behaviour ever changes the design
    expose any library type in its visible interface. Thus for such     has to be right ﬁrst time. And then, having designed it right,
    types every public ﬁeld, every formal argument of a pub-            the company needs to expensively maintain the type for as
    lic method and every return type must be a platform type.           long as it plans to stay in business.




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                 Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 12 of 64
    4.3. But Will it Fly?                                               safety in environments where the integrity of neither the
                                                                        originating compiler nor the deployment mechanism may
        The separation of types into categories according to the        be guaranteed. Memory safety is, in turn, the guarantee that
    style of their evolution may or may not ﬁnd its way into the        is required to ensure lack of interference between program
    type systems of the mainstream managed platforms. Never-            parts in a component framework. The enforcement of type-
    theless, the very idea of such a separation is an important         system invariants is also an essential factor in managing ver-
    tool in tackling versioning issues in component systems.            sion evolution.
    The concept, and the design rules that ﬂow from it, have
    a wider applicability to all large scale systems for which it       References
    is necessary to upgrade subsystems piecewise. In that case,
    even if all the sub-systems come from a single vendor, new           [1] K. V. Nori, U. Ammann, K. Jensen, H. H. Nageli and Ch. Ja-
    subsystem versions must interwork with other subsystems                  cobi, “Pascal-P Implementation Notes” Ch. 9 in D. W. Bar-
    that will be replaced at later times. The key lesson is to               ron (Ed), Pascal – the Language and its Implementation. J
    tightly control the evolution of the types that cross the sub-           Wiley, 1981.
    system boundaries.                                                   [2] K. Bowles, Beginner’s Guide for the UCSD Pascal System,
                                                                             Byte Books, 1980.
        Finally it may be noted that within the component world,
                                                                         [3] D. R. Perkins and R. L. Sites, “Machine-indpendent Pas-
    with third-party composition of independently developed
                                                                             cal code optimization”. Proc. 1979 SIGPLAN symposium on
    components, the type-safety guarantees of managed exe-
                                                                             Compiler Construction, ACM, 1979.
    cution are critical to controlling the versioning problem. It
                                                                         [4] K. John Gough, “Multi-language, Multi-target Compiler De-
    is also relevant to observe that managed execution systems               velopment”, JMLC, Linz Austria, March 1997. Also in Mod-
    restrict the visibility of implementation artifacts, and thus            ular Programming Languages, H. Mössenböck (Ed), LNCS
    make it less likely that the user of a platform type can de-             No. 1204, Springer Verlag.
    pend on undocumented features of a particular version of             [5] Hassan Aı̈t-Kaci, Warren’s Abstract Machine: A Tutorial Re-
    the type.                                                                construction. MIT Press, 1991.
                                                                         [6] S. Macrakis, “From UNCOL to ANDF: Progress in Standard
                                                                             Intermediate Languages.” Technical Report, Open Software
    5. Concluding Remarks                                                    Foundation Research Institute, 1993.
                                                                         [7] M. Franz, Code Generation On-the-Fly: A Key to Portable
        This quick overview has reviewed the historical context              Software. Doctoral Dissertation No. 10497, ETH Zurich,
    in which abstract machines have morphed into the currently               March 1994.
    popular managed execution systems. The recital of the his-           [8] T. Lindholm and F. Yellin, The Java Virtual Machine Speci-
    tory goes some way towards explaining how the current sys-               ﬁcation. Addison-Wesley, Reading MA, 1997.
    tems came to use abstract machines to represent program              [9] Sun Microsystems, “Java Technology: the Early Years”
    behaviour. Nevertheless, the notion of managed execution                 http://java.sun.com/features/1998/05/birthday.html
    (or alternatively metadata mediated execution) and the use          [10] J. Miller and S. Ragsdale, The Common Language Infras-
    of abstract stack machine representations are independent.               tructure Annotated Standard. Addison-Wesley, New York,
    In fact it may be argued that some slight advantage might be             NY, 2004.
    gained by using a program representation other than the in-         [11] K. John Gough, “Stacking them up: a Comparison of Virtual
    structions for an abstract stack machine. Even the advantage             Machines”. Australian Computer Systems and Architecture
    of high program density traditionally claimed for stack ma-              Conference (ACSAC-2001), Gold Coast, Australia, Febru-
    chines seems dubious, given the signiﬁcant volume of meta-               ary 2001.
    data that must accompany the bytecodes in these systems.            [12] C. Szyperski, Component Software: Beyond Object Oriented
                                                                             Programming. ACM Press and Addison-Wesley, New York,
        Irrespective of the choice of instruction set, managed ex-
                                                                             NY, 1998.
    ecution systems with their reliance on symbolic metadata,
                                                                        [13] J. Gough, Compiling for the .NET Common Language Run-
    provide representations of program behaviour that are suit-              time. Prentice-Hall, Saddle River, NJ, 2002.
    ably abstracted from the details of any particular machine.
    In principle they provide for a level of software portabil-
    ity that goes beyond anything previously achieved. This is a
    one reason for the importance of such systems, but not the
    most important.
        The real importance of managed execution systems, and
    their critical role in the future of software development de-
    pends on the fact that they are managed. Managed execu-
    tion provides for the enforcement of type- and memory-




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Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 13 of 64




                       EXHIBIT H
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 14 of 64




A Brief History of Just-In-Time
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             Software systems have been using “just-in-time” compilation (JIT) techniques since the
             1960s. Broadly, JIT compilation includes any translation performed dynamically, after a
             program has started execution. We examine the motivation behind JIT compilation and
             constraints imposed on JIT compilation systems, and present a classification scheme for
             such systems. This classification emerges as we survey forty years of JIT work, from
             1960–2000.

             Categories and Subject Descriptors: D.3.4 [Programming Languages]: Processors;
             K.2 [History of Computing]: Software
             General Terms: Languages, Performance
             Additional Key Words and Phrases: Just-in-time compilation, dynamic compilation



1. INTRODUCTION                                           into a form that is executable on a target
                                                          platform.
  Those who cannot remember the past are con-                What is translated? The scope and na-
  demned to repeat it.                                    ture of programming languages that re-
  George Santayana, 1863–1952 [Bartlett 1992]             quire translation into executable form
                                                          covers a wide spectrum. Traditional pro-
   This oft-quoted line is all too applicable             gramming languages like Ada, C, and
in computer science. Ideas are generated,                 Java are included, as well as little lan-
explored, set aside—only to be reinvented                 guages [Bentley 1988] such as regular
years later. Such is the case with what                   expressions.
is now called “just-in-time” (JIT) or dy-                    Traditionally, there are two approaches
namic compilation, which refers to trans-                 to translation: compilation and interpreta-
lation that occurs after a program begins                 tion. Compilation translates one language
execution.                                                into another—C to assembly language, for
   Strictly speaking, JIT compilation sys-                example—with the implication that the
tems (“JIT systems” for short) are com-                   translated form will be more amenable
pletely unnecessary. They are only a                      to later execution, possibly after further
means to improve the time and space ef-                   compilation stages. Interpretation elimi-
ficiency of programs. After all, the central              nates these intermediate steps, perform-
problem JIT systems address is a solved                   ing the same analyses as compilation, but
one: translating programming languages                    performing execution immediately.


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                                                     ACM Computing Surveys, Vol. 35, No. 2, June 2003, pp. 97–113.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 15 of 64




98                                                                                           Aycock

   JIT compilation is used to gain the ben-     directly as in machine code, or indirectly
efits of both (static) compilation and inter-   using an interpreter.
pretation. These benefits will be brought
out in later sections, so we only summa-        2. JIT COMPILATION TECHNIQUES
rize them here:
                                                Work on JIT compilation techniques often
—Compiled programs run faster, espe-            focuses around implementation of a par-
 cially if they are compiled into a form        ticular programming language. We have
 that is directly executable on the under-      followed this same division in this sec-
 lying hardware. Static compilation can         tion, ordering from earliest to latest where
 also devote an arbitrary amount of time        possible.
 to program analysis and optimization.
 This brings us to the primary constraint       2.1. Genesis
 on JIT systems: speed. A JIT system
 must not cause untoward pauses in nor-         Self-modifying code has existed since the
 mal program execution as a result of its       earliest days of computing, but we exclude
 operation.                                     that from consideration because there is
                                                typically no compilation or translation as-
—Interpreted programs are typically             pect involved.
 smaller, if only because the represen-            Instead, we suspect that the earliest
 tation chosen is at a higher level than        published work on JIT compilation was
 machine code, and can carry much more          McCarthy’s [1960] LISP paper. He men-
 semantic information implicitly.               tioned compilation of functions into ma-
—Interpreted programs tend to be                chine language, a process fast enough that
 more portable. Assuming a machine-             the compiler’s output needn’t be saved.
 independent representation, such as            This can be seen as an inevitable result of
 high-level source code or virtual ma-          having programs and data share the same
 chine code, only the interpreter need be       notation [McCarthy 1981].
 supplied to run the program on a differ-          Another early published reference to
 ent machine. (Of course, the program           JIT compilation dates back to 1966. The
 still may be doing nonportable opera-          University of Michigan Executive System
 tions, but that’s a different matter.)         for the IBM 7090 explicitly notes that the
—Interpreters have access to run-time           assembler [University of Michigan 1966b,
 information, such as input parame-             p. 1] and loader [University of Michigan
 ters, control flow, and target machine         1966a, p. 6] can be used to translate and
 specifics. This information may change         load during execution. (The manual’s pref-
 from run to run or be unobtainable             ace says that most sections were written
 prior to run-time. Additionally, gather-       before August 1965, so this likely dates
 ing some types of information about a          back further.)
 program before it runs may involve al-            Thompson’s [1968] paper, published in
 gorithms which are undecidable using           Communications of the ACM, is frequently
 static analysis.                               cited as “early work” in modern publi-
                                                cations. He compiled regular expressions
  To narrow our focus somewhat, we              into IBM 7094 code in an ad hoc fashion,
only examine software-based JIT systems         code which was then executed to perform
that have a nontrivial translation aspect.      matching.
Keppel et al. [1991] eloquently built an ar-
gument for the more general case of run-        2.2. LC2
time code generation, where this latter re-
striction is removed.                           The Language for Conversational Com-
  Note that we use the term execution in        puting, or LC2 , was designed for in-
a broad sense—we call a program repre-          teractive programming [Mitchell et al.
sentation executable if it can be executed      1968]. Although used briefly at Carnegie-
by the JIT system in any manner, either         Mellon University for teaching, LC2 was

                                                     ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 16 of 64




Brief History of Just-In-Time                                                                    99




                  Fig. 1. The time-space tradeoff.


primarily an experimental language                   lated APL programs into postfix code for
[Mitchell 2000]. It might otherwise be               a D-machine,1 which maintained a buffer
consigned to the dustbin of history, if              of deferred instructions. The D-machine
not for the techniques used by Mitchell              acted as an “algebraically simplifying com-
in its implementation [Mitchell 1970],               piler” [Abrams 1970, p. 84] which would
techniques that later influenced JIT                 perform drag-along and beating at run-
systems for Smalltalk and Self.                      time, invoking an E-machine to execute
  Mitchell observed that compiled code               the buffered instructions when necessary.
can be derived from an interpreter at run-             Abrams’ work was directed toward
time, simply by storing the actions per-             an architecture for efficient support of
formed during interpretation. This only              APL, hardware support for high-level lan-
works for code that has been executed,               guages being a popular pursuit of the time.
however—he gave the example of an if-                Abrams never built the machine, however;
then-else statement, where only the else-            an implementation was attempted a few
part is executed. To handle such cases,              years later [Schroeder and Vaughn 1973].2
code is generated for the unexecuted part            The techniques were later expanded upon
which reinvokes the interpreter should it            by others [Miller 1977], although the ba-
ever be executed (the then-part, in the              sic JIT nature never changed, and were
example above).                                      used for the software implementation of
                                                     Hewlett-Packard’s APL\3000 [Johnston
                                                     1977; van Dyke 1977].
2.3. APL
The seminal work on efficient APL                    2.4. Mixed Code, Throw-Away Code,
implementation is Abrams’ disserta-                       and BASIC
tion [Abrams 1970]. Abrams concocted
two key APL optimization strategies,                 The tradeoff between execution time and
which he described using the connotative             space often underlies the argument for JIT
terms drag-along and beating. Drag-along             compilation. This tradeoff is summarized
defers expression evaluation as long as              in Figure 1. The other consideration is
possible, gathering context information in           that most programs spend the majority of
the hopes that a more efficient evaluation           time executing a minority of code, based on
method might become apparent; this                   data from empirical studies [Knuth 1971].
might now be called lazy evaluation.                 Two ways to reconcile these observations
Beating is the transformation of code to             have appeared: mixed code and throw-
reduce the amount of data manipulation               away compiling.
involved during expression evaluation.                  Mixed code refers to the implementa-
   Drag-along and beating relate to JIT              tion of a program as a mixture of native
compilation because APL is a very dy-                code and interpreted code, proposed in-
namic language; types and attributes of              dependently by Dakin and Poole [1973]
data objects are not, in general, known              and Dawson [1973]. The frequently ex-
until run-time. To fully realize these op-           ecuted parts of the program would be
timizations’ potential, their application
must be delayed until run-time informa-              1Presumably D stood for Deferral or Drag-Along.
tion is available.                                   2 In the end, Litton Industries (Schroeder and
   Abrams’ “APL Machine” employed two                Vaughn’s employer) never built the machine
separate JIT compilers. The first trans-             [Mauriello 2000].


ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 17 of 64




100                                                                                           Aycock

in native code, the infrequently executed       good way to address the time-space trade-
parts interpreted, hopefully yielding a         off; Hammond [1977] was somewhat more
smaller memory footprint with little or no      adamant, claiming throw-away compila-
impact on speed. A fine-grained mixture is      tion to be superior except when memory
implied: implementing the program with          is tight.
interpreted code and the libraries with na-        A good discussion of mixed code and
tive code would not constitute mixed code.      throw-away compiling may be found
   A further twist to the mixed code ap-        in Brown [1990].
proach involved customizing the inter-
preter [Pittman 1987]. Instead of mixing        2.5. FORTRAN
native code into the program, the na-
tive code manifests itself as special vir-      Some of the first work on JIT systems
tual machine instructions; the program is       where programs automatically optimize
then compiled entirely into virtual ma-         their “hot spots” at run-time was due to
chine code.                                     Hansen [1974].3 He addressed three im-
   The basic idea of mixed code, switch-        portant questions:
ing between different types of executable       (1) What code should be optimized?
code, is still applicable to JIT systems, al-       Hansen chose a simple, low-cost
though few researchers at the time ad-              frequency model, maintaining a
vocated generating the machine code at              frequency-of-execution counter for
run-time. Keeping both a compiler and an            each block of code (we use the generic
interpreter in memory at run-time may               term block to describe a unit of
have been considered too costly on the ma-          code; the exact nature of a block is
chines of the day, negating any program             immaterial for our purposes).
size tradeoff.
                                                (2) When should the code be optimized?
   The case against mixed code comes from
                                                    The frequency counters served a sec-
software engineering [Brown 1976]. Even
                                                    ond rôle: crossing a threshold value
assuming that the majority of code will be
                                                    made the associated block of code a
shared between the interpreter and com-
                                                    candidate for the next “level” of op-
piler, there are still two disparate pieces
                                                    timization, as described below. “Su-
of code (the interpreter proper and the
                                                    pervisor” code was invoked between
compiler’s code generator) which must be
                                                    blocks, which would assess the coun-
maintained and exhibit identical behavior.
                                                    ters, perform optimization if necessary,
   (Proponents of partial evaluation, or
                                                    and transfer control to the next block
program specialization, will note that this
                                                    of code. The latter operation could be a
is a specious argument in some sense, be-
                                                    direct call, or interpreter invocation—
cause a compiler can be thought of as a
                                                    mixed code was supported by Hansen’s
specialized interpreter [Jones et al. 1993].
                                                    design.
However, the use of partial evaluation
techniques is not currently widespread.)        (3) How should the code be optimized?
   This brings us to the second man-                A set of conventional machine-
ner of reconciliation: throw-away compil-           independent and machine-dependent
ing [Brown 1976]. This was presented                optimizations were chosen and or-
purely as a space optimization: instead             dered, so a block might first be opti-
of static compilation, parts of a program           mized by constant folding, by common
could be compiled dynamically on an as-             subexpression elimination the second
needed basis. Upon exhausting memory,
some or all of the compiled code could be       3 Dawson [1973] mentioned a 1967 report by Barbieri

thrown away; the code would be regener-         and Morrissey where a program begins execution in
ated later if necessary.                        interpreted form, and frequently executed parts “can
                                                be converted to machine code.” However, it is not clear
   BASIC was the testbed for throw-             if the conversion to machine code occurred at run-
away compilation. Brown [1976] essen-           time. Unfortunately, we have not been able to obtain
tially characterized the technique as a         the cited work as of this writing.


                                                      ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 18 of 64




Brief History of Just-In-Time                                                                101

    time optimization occurs, by code               likened to macro-expansion. Procedures
    motion the third time, and so on.               were compiled to native code lazily, when
    Hansen [1974] observed that this                execution entered the procedure; the na-
    scheme limits the amount of time                tive code was cached for later use. Their
    taken at any given optimization point           system was linked to memory manage-
    (especially important if the frequency          ment in that native code would never be
    model proves to be incorrect), as               paged out, just thrown away and regener-
    well as allowing optimizations to be            ated later if necessary.
    incrementally added to the compiler.               In turn, Deutsch and Schiffman [1984]
                                                    credited the dynamic translation idea to
   Programs using the resulting Adap-               Rau [1978]. Rau was concerned with “uni-
tive FORTRAN system reportedly were                 versal host machines” which would ex-
not always faster than their statically             ecute a variety of high-level languages
compiled-and-optimized counterparts, but            well (compared to, say, a specialized APL
performed better overall.                           machine). He proposed dynamic trans-
   Returning again to mixed code, Ng and            lation to microcode at the granularity
Cantoni [1976] implemented a variant of             of single virtual machine instructions.
FORTRAN using this technique. Their                 A hardware cache, the dynamic transla-
system could compile functions at run-              tion buffer, would store completed transla-
time into “pseudo-instructions,” probably           tions; a cache miss would signify a missing
a tokenized form of the source code rather          translation, and fault to a dynamic trans-
than a lower-level virtual machine code.            lation routine.
The pseudo-instructions would then be
interpreted. They claimed that run-time
                                                    2.7. Self
compilation was useful for some applica-
tions and avoided a slow compile-link pro-          The Self programming language [Ungar
cess. They did not produce mixed code               and Smith 1987; Smith and Ungar 1995],
at run-time; their use of the term re-              in contrast to many of the other lan-
ferred to the ability to have statically            guages mentioned in this section, is pri-
compiled FORTRAN programs call their                marily a research vehicle. Self is in many
pseudo-instruction interpreter automati-            ways influenced by Smalltalk, in that
cally when needed via linker trickery.              both are pure object-oriented languages—
                                                    everything is an object. But Self eschews
2.6. Smalltalk
                                                    classes in favor of prototypes, and oth-
                                                    erwise attempts to unify a number of
Smalltalk source code is compiled into vir-         concepts. Every action is dynamic and
tual machine code when new methods are              changeable, and even basic operations,
added to a class [Goldberg and Robson               like local variable access, require invoca-
1985]. The performance of naı̈ve Smalltalk          tion of a method. To further complicate
implementations left something to be de-            matters, Self is a dynamically-typed lan-
sired, however.                                     guage, meaning that the types of identi-
   Rather than attack the performance               fiers are not known until run-time.
problem with hardware, Deutsch and                     Self ’s unusual design makes efficient
Schiffman [1984] made key optimizations             implementation difficult. This resulted in
in software. The observation behind this            the development of the most aggressive,
was that they could pick the most efficient         ambitious JIT compilation and optimiza-
representation for information, so long as          tion up to that time. The Self group
conversion between representations hap-             noted three distinct generations of com-
pened automatically and transparently to            piler [Hölzle 1994], an organization we fol-
the user.                                           low below; in all cases, the compiler was
   JIT conversion of virtual machine code           invoked dynamically upon a method’s in-
to native code was one of the optimiza-             vocation, as in Deutsch and Schiffman’s
tion techniques they used, a process they           [1984] Smalltalk system.

ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 19 of 64




102                                                                                                   Aycock

   2.7.1. First Generation. Almost all the op-        is informed that certain events, such as
timization techniques employed by Self                arithmetic overflow, are unlikely to occur.
compilers dealt with type information, and            That being the case, no code is generated
transforming a program in such a way                  for these uncommon cases; a stub is left
that some certainty could be had about the            in the code instead, which will invoke the
types of identifiers. Only a few techniques           compiler again if necessary. The practi-
had a direct relationship with JIT compi-             cal result of this is that the code for un-
lation, however.                                      common cases need not be analyzed upon
   Chief among these, in the first-                   initial compilation, saving a substantial
generation Self compiler, was customiza-              amount of time.5
tion [Chambers et al. 1989; Chambers and                 Ungar et al. [1992] gave a good presen-
Ungar 1989; Chambers 1992]. Instead                   tation of optimization techniques used in
of dynamically compiling a method into                Self and the resulting performance in the
native code that would work for any                   first- and second-generation compilers.
invocation of the method, the compiler
                                                         2.7.3. Third  Generation. The      third-
produced a version of the method that
                                                      generation Self compiler attacked the
was customized to that particular con-
                                                      issue of slow compilation at a much more
text. Much more type information was
                                                      fundamental level. The Self compiler
available to the JIT compiler compared
                                                      was part of an interactive, graphical
to static compilation, and by exploiting
                                                      programming environment; executing the
this fact the resulting code was much
                                                      compiler on-the-fly resulted in a notice-
more efficient. While method calls from
                                                      able pause in execution. Hölzle argued
similar contexts could share customized
                                                      that measuring pauses in execution for
code, “overcustomization” could still
                                                      JIT compilation by timing the amount
consume a lot of memory at run-time;
                                                      of time the compiler took to run was
ways to combat this problem were later
                                                      deceptive, and not representative of the
studied [Dieckmann and Hölzle 1997].
                                                      user’s experience [Hölzle 1994; Hölzle
   2.7.2. Second Generation. The second-              and Ungar 1994b]. Two invocations of the
generation Self compiler extended one                 compiler could be separated by a brief
of the program transformation tech-                   spurt of program execution, but would
niques used by its predecessor, and                   be perceived as one long pause by the
computed much better type information                 user. Hölzle compensated by considering
for loops [Chambers and Ungar 1990;                   temporally related groups of pauses, or
Chambers 1992].                                       “pause clusters,” rather than individual
   This Self compiler’s output was indeed             compilation pauses.
faster than that of the first generation,                As for the compiler itself, compi-
but it came at a price. The compiler ran              lation time was reduced—or at least
15 to 35 times more slowly on bench-                  spread out—by using adaptive optimiza-
marks [Chambers and Ungar 1990, 1991],                tion, similar to Hansen’s [1974] FOR-
to the point where many users refused to              TRAN work. Initial method compilation
use the new compiler [Hölzle 1994]!                  was performed by a fast, nonoptimizing
   Modifications were made to the respon-             compiler; frequency-of-invocation coun-
sible algorithms to speed up compila-                 ters were kept for each method to de-
tion [Chambers and Ungar 1991]. One                   termine when recompilation should oc-
such modification was called deferred com-            cur [Hölzle 1994; Hölzle and Ungar 1994a,
pilation of uncommon cases.4 The compiler             1994b]. Hölzle makes an interesting com-
                                                      ment on this mechanism:
4 In Chambers’ thesis, this is referred to as “lazy       . . . in the course of our experiments we discov-
compilation of uncommon branches,” an idea he             ered that the trigger mechanism (“when”) is
attributes to a suggestion by John Maloney in
1989 [Chambers 1992, p. 123]. However, this is the
same technique used in Mitchell [1970], albeit for    5 This technique can be applied to dynamic compila-
different reasons.                                    tion of exception handling code [Lee et al. 2000].


                                                              ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 20 of 64




Brief History of Just-In-Time                                                                           103

  much less important for good recompilation             compiled for the least-common denomina-
  results than the selection mechanism (“what”).         tor of processor may not take full advan-
  [Hölzle 1994, p. 38]6                                 tage of the processor on which it eventu-
   This may come from the slightly coun-                 ally executes.
terintuitive notion that the best candi-                    In his doctoral work, Franz ad-
date for recompilation is not necessarily                dressed these problems using “slim
the method whose counter triggered the                   binaries” [Franz 1994; Franz and Kistler
recompilation. Object-oriented program-                  1997]. A slim binary contains a high-level,
ming style tends to encourage short meth-                machine-independent         representation8
ods; a better choice may be to (re)optimize              of a program module. When a module
the method’s caller and incorporate the                  is loaded, executable code is generated
frequently invoked method inline [Hölzle                for it on-the-fly, which can presumably
and Ungar 1994b].                                        tailor itself to the run-time environment.
   Adaptive optimization adds the compli-                Franz, and later Kistler, claimed that
cation that a modified method may already                generating code for an entire module at
be executing, and have information (such                 once was often superior to the method-
as an activation record on the stack) that               at-a-time strategy used by Smalltalk
depends on the previous version of the                   and Self, in terms of the resulting code
modified method [Hölzle 1994]; this must                performance [Franz 1994; Kistler 1999].
be taken into consideration.7                               Fast code generation was critical to the
   The Self compiler’s JIT optimization                  slim binary approach. Data structures
was assisted by the introduction of “type                were delicately arranged to facilitate this;
feedback” [Hölzle 1994; Hölzle and Ungar               generated code that could be reused was
1994a]. As a program executed, type infor-               noted and copied if needed later, rather
mation was gathered by the run-time sys-                 than being regenerated [Franz 1994].
tem, a straightforward process. This type                   Franz implemented slim binaries for
information would then be available if and               the Oberon system, which allows dynamic
when recompilation occurred, permitting                  loading of modules [Wirth and Gutknecht
more aggressive optimization. Informa-                   1989]. Loading and generating code for a
tion gleaned using type feedback was later               slim binary was not faster than loading a
shown to be comparable with, and perhaps                 traditional binary [Franz 1994; Franz and
complementary to, information from static                Kistler 1997], but Franz argued that this
type inference [Agesen and Hölzle 1995;                 would eventually be the case as the speed
Agesen 1996].                                            discrepancy between processors and in-
                                                         put/output (I/O) devices increased [Franz
                                                         1994].
                                                            Using slim binaries as a starting point,
2.8. Slim Binaries and Oberon                            Kistler’s [1999] work investigated “contin-
One problem with software distribution                   uous” run-time optimization, where parts
and maintenance is the heterogeneous                     of an executing program can be optimized
computing environment in which soft-                     ad infinitum. He contrasted this to the
ware runs: different computer architec-                  adaptive optimization used in Self, where
tures require different binary executables.              optimization of methods would eventually
Even within a single line of backward-                   cease.
compatible processors, many variations in                   Of course, reoptimization is only useful
capability can exist; a program statically               if a new, better, solution can be obtained;
                                                         this implies that continuous optimization
                                                         is best suited to optimizations whose in-
6 The same comment, with slightly different wording,
                                                         put varies over time with the program’s
also appears in Hölzle and Ungar [1994a, p. 328].
7 Hansen’s work in 1974 could ignore this possibility;
the FORTRAN of the time did not allow recursion,
and so activation records and a stack were unneces-      8 This representation is an abstract syntax tree, to
sary [Sebesta 1999].                                     be precise.


ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 21 of 64




104                                                                                                  Aycock

execution.9 Accordingly, Kistler looked at               As just described, template-based sys-
cache optimizations—rearranging fields                 tems arguably do not fit our description of
in a structure dynamically to optimize                 JIT compilers, since there would appear to
a program’s data-access patterns [Kistler              be no nontrivial translation aspect. How-
1999; Kistler and Franz 1999]—and a dy-                ever, templates may be encoded in a form
namic version of trace scheduling, which               which requires run-time translation be-
optimizes based on information about                   fore execution, or the dynamic compiler
a program’s control flow during execu-                 may perform run-time optimizations after
tion [Kistler 1999].                                   connecting the templates.
   The continuous optimizer itself executes              Templates have been applied to (sub-
in the background, as a separate low-                  sets of) ML [Leone and Lee 1994; Lee
priority thread which executes only dur-               and Leone 1996; Wickline et al. 1998].
ing a program’s idle time [Kistler 1997,               They have also been used for run-time spe-
1999]. Kistler used a more sophisticated               cialization of C [Consel and Noël 1996;
metric than straightforward counters to                Marlet et al. 1999], as well as dynamic
determine when to optimize, and observed               extensions of C [Auslander et al. 1996;
that deciding what to optimize is highly               Engler et al. 1996; Poletto et al. 1997].
optimization-specific [Kistler 1999].                  One system, Dynamo,10 proposed to per-
   An idea similar to continuous optimiza-             form staged compilation and dynamic op-
tion has been implemented for Scheme.                  timization for Scheme and Java, as well as
Burger [1997] dynamically reordered code               for ML [Leone and Dybvig 1997].
blocks using profile information, to im-                 Templates aside, ML may be dynami-
prove code locality and hardware branch                cally compiled anyway. In Cardelli’s de-
prediction. His scheme relied on the (copy-            scription of his ML compiler, he noted:
ing) garbage collector to locate pointers
                                                         [Compilation] is repeated for every definition or
to old versions of a function, and update                expression typed by the user. . . or fetched from
them to point to the newer version. This                 an external file. Because of the interactive use
dynamic recompilation process could be                   of the compiler, the compilation of small phrases
repeated any number of times [Burger                     must be virtually instantaneous. [Cardelli 1984,
1997, page 70].                                          p. 209]

                                                       2.10. Erlang
2.9. Templates, ML, and C
                                                       Erlang is a functional language, designed
ML and C make strange bedfellows, but                  for use in large, soft real-time systems
the same approach has been taken to dy-                such as telecommunications equipment
namic compilation in both. This approach               [Armstrong 1997]. Johansson et al. [2000]
is called staged compilation, where compi-             described the implementation of a JIT
lation of a single program is divided into             compiler for Erlang, HiPE, designed to ad-
two stages: static and dynamic compila-                dress performance problems.
tion. Prior to run-time, a static compiler                As a recently designed system without
compiles “templates,” essentially building             historical baggage, HiPE stands out in
blocks which are pieced together at run-               that the user must explicitly invoke the
time by the dynamic compiler, which may                JIT compiler. The rationale for this is that
also place run-time values into holes left in          it gives the user a fine degree of control
the templates. Typically these templates               over the performance/code space tradeoff
are specified by user annotations, al-                 that mixed code offers [Johansson et al.
though some work has been done on deriv-               2000].
ing them automatically [Mock et al. 1999].                HiPE exercises considerable care when
                                                       performing “mode-switches” back and
9 Although, making the general case for run-time op-
timization, he discussed intermodule optimizations     10 A name collision: Leone and Dybvig’s “Dynamo” is
where this is not the case [Kistler 1997].             different from the “Dynamo” of Bala et al. [1999].


                                                             ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 22 of 64




Brief History of Just-In-Time                                                                              105

forth between native and interpreted code.                   But later in the paper they stated that
Mode-switches may be needed at the obvi-
ous locations—calls and returns—as well                      . . . program specialization is entering relative
                                                             maturity. [Thibault et al. 2000, p. 175]
as for thrown exceptions. Their calls use
the mode of the caller rather than the                    This may be taken to imply that, at least
mode of the called code; this is in con-                for the time being, program specialization
trast to techniques used for mixed code                 may not be as fruitful as other approaches
in Lisp (Gabriel and Masinter [1985] dis-               to dynamic compilation and optimization.
cussed mixed code calls in Lisp and their
performance implications).
                                                        2.12. Prolog
2.11. Specialization and O’Caml                         Prolog systems dynamically compile, too,
O’Caml is another functional language,                  although the execution model of Pro-
and can be considered a dialect of ML                   log necessitates use of specialized tech-
[Rémy et al. 1999]. The O’Caml inter-                  niques. Van Roy [1994] gave an outstand-
preter has been the focus of run-time spe-              ing, detailed survey of the area. One of
cialization work.                                       SICStus Prolog’s native code compilers,
   Piumarta and Riccardi [1998] special-                which could be invoked and have its out-
ized the interpreter’s instructions to the              put loaded dynamically, was described in
program being run, in a limited way.11                  Haygood [1994].
They first dynamically translated inter-
preted bytecodes into direct threaded
                                                        2.13. Simulation, Binary Translation,
code [Bell 1973], then dynamically com-
                                                              and Machine Code
bined blocks of instructions together into
new “macro opcodes,” modifying the code                 Simulation is the process of running na-
to use the new instructions. This reduced               tive executable machine code for one ar-
the overhead of instruction dispatch, and               chitecture on another architecture.12 How
yielded opportunities for optimization in               does this relate to JIT compilation? One
macro opcodes which would not have been                 of the techniques for simulation is bi-
possible if the instructions had been sepa-             nary translation; in particular, we focus on
rate (although they did not perform such                dynamic binary translation that involves
optimizations). As presented, their tech-               translating from one machine code to an-
nique did not take dynamic execution                    other at run-time. Typically, binary trans-
paths into account, and they noted that it              lators are highly specialized with respect
is best suited to low-level instruction sets,           to source and target; research on retar-
where dispatch time is a relatively large               getable and “resourceable” binary trans-
factor in performance.                                  lators is still in its infancy [Ung and
   A more general approach to run-time                  Cifuentes 2000]. Altman et al. [2000b]
specialization was taken by Thibault et al.             have a good discussion of the challenges
[2000]. They applied their program spe-                 involved in binary translation, and Cmelik
cializer, Tempo [Consel et al. 1998], to the            and Keppel [1994] compared pre-1995
Java virtual machine and the O’Caml in-                 simulation systems in detail. Rather than
terpreter at run-time. They noted:                      duplicating their work, we will take a
                                                        higher-level view.
     While the speedup obtained by specialization          May [1987] proposed that simulators
     is significant, it does not compete with results   could be categorized by their implementa-
     obtained with hand-written off-line or run-time
                                                        tion technique into three generations. To
     compilers. [Thibault et al. 2000, p. 170]

                                                        12We use the term simulate in preference to emulate
11Thibault et al. [2000] provided an alternative view   as the latter has the connotation that hardware is
on Piumarta and Riccardi’s work with respect to         heavily involved in the process. However, some liter-
specialization.                                         ature uses the words interchangeably.


ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 23 of 64




106                                                                                        Aycock

this, we add a fourth generation to char-        mine which execution paths are hot,
acterize more recent work.                       the source program is executed in some
                                                 manner and profile information is
(1) First-generation simulators were             gathered. Time invested in doing this
    interpreters, which would simply             is assumed to be recouped eventually.
    interpret each source instruction as            When source and target architec-
    needed. As might be expected, these          tures are dissimilar, or the source ar-
    tended to exhibit poor performance           chitecture is uncomplicated (such as
    due to interpretation overhead.              a reduced instruction set computer
(2) Second-generation simulators dynam-          (RISC) processor) then interpretation
    ically translated source instructions        of the source program is typically
    into target instruction one at a time,       employed to execute the source pro-
    caching the translations for later use.      gram [Bala et al. 1999; Gschwind et al.
(3) Third-generation simulators impro-           2000; Transmeta Corporation 2001;
    ved upon the performance of second-          Zheng and Thompson 2000]. The al-
    generation simulators by dynamically         ternative approach, direct execution, is
    translating entire blocks of source in-      best summed up by Rosenblum et al.
    structions at a time. This introduces        [1995, p. 36]:
    new questions as to what should be
    translated. Most such systems trans-            By far the fastest simulator of the CPU,
                                                    MMU, and memory system of an SGI mul-
    lated either basic blocks of code or
                                                    tiprocessor is an SGI multiprocessor.
    extended basic blocks [Cmelik and
    Keppel 1994], reflecting the static           In other words, when the source and
    control flow of the source program.           target architectures are the same, as
    Other static translation units are pos-       in the case where the goal is dynamic
    sible: one anomalous system, DAISY,           optimization of a source program, the
    performed page-at-a-time translations         source program can be executed di-
    from PowerPC to VLIW instructions             rectly by the central processing unit
    [Ebcioğlu and Altman 1996, 1997].            (CPU). The simulator regains control
(4) What we call fourth-generation                periodically as a result of appropri-
    simulators expand upon the third-             ately modifying the source program
    generation by dynamically translating         [Chen et al. 2000] or by less di-
    paths, or traces. A path reflects the         rect means such as interrupts [Gorton
    control flow exhibited by the source          2001].
    program at run-time, a dynamic in-        (2) Hot path detection. In lieu of hard-
    stead of a static unit of translation.        ware support, hot paths may be de-
    The most recent work on binary trans-         tected by keeping counters to record
    lation is concentrated on this type of        frequency of execution [Zheng and
    system.                                       Thompson 2000], or by watching for
  Fourth-generation simulators are pre-           code that is structurally likely to be
dominant in recent literature [Bala et al.        hot, like the target of a backward
1999; Chen et al. 2000; Deaver et al. 1999;       branch [Bala et al. 1999]. With hard-
Gschwind et al. 2000; Klaiber 2000; Zheng         ware support, the program’s program
and Thompson 2000]. The structure of              counter can be sampled at intervals to
these is fairly similar:                          detect hot spots [Deaver et al. 1999].
                                                    Some other considerations are that
(1) Profiled execution. The simulator’s           paths may be strategically excluded if
    effort should be concentrated on “hot”        they are too expensive or difficult to
    areas of code that are frequently exe-        translate [Zheng and Thompson 2000],
    cuted. For example, initialization code       and choosing good stopping points for
    that is executed only once should not         paths can be as important as choos-
    be translated or optimized. To deter-         ing good starting points in terms

                                                   ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 24 of 64




Brief History of Just-In-Time                                                                          107

    of keeping a manageable number of               2.14. Java
    traces [Gschwind et al. 2000].
                                                    Java is implemented by static compila-
(3) Code generation and optimization.               tion to bytecode instructions for the Java
    Once a hot path has been noted, the             virtual machine, or JVM. Early JVMs
    simulator will translate it into code           were only interpreters, resulting in less-
    for the target architecture, or perhaps         than-stellar performance:
    optimize the code. The correctness of
    the translation is always at issue, and           Interpreting bytecodes is slow. [Cramer et al.
    some empirical verification techniques            1997, p. 37]
    are discussed in [Zheng and Thompson              Java isn’t just slow, it’s really slow, surprisingly
    2000].                                            slow. [Tyma 1998, p. 41]
(4) “Bail-out” mechanism. In the case of
    dynamic optimization systems (where               Regardless of how vitriolic the expres-
    the source and target architectures are         sion, the message was that Java programs
    the same), there is the potential for           had to run faster, and the primary means
    a negative impact on the source pro-            looked to for accomplishing this was JIT
    gram’s performance. A bail-out mech-            compilation of Java bytecodes. Indeed,
    anism [Bala et al. 1999] heuristically          Java brought the term just-in-time into
    tries to detect such a problem and re-          common use in computing literature.13
    vert back to the source program’s di-           Unquestionably, the pressure for fast Java
    rect execution; this can be spotted, for        implementations spurred a renaissance in
    example, by monitoring the stability of         JIT research; at no other time in history
    the working set of paths. Such a mech-          has such concentrated time and money
    anism can also be used to avoid han-            been invested in it.
    dling complicated cases.                          An early view of Java JIT compilation
                                                    was given by Cramer et al. [1997], who
   Another recurring theme in recent                were engineers at Sun Microsystems, the
binary translation work is the issue of             progenitor of Java. They made the ob-
hardware support for binary translation,            servation that there is an upper bound
especially for translating code for legacy          on the speedup achievable by JIT compi-
architectures into VLIW code. This has              lation, noting that interpretation proper
attracted interest because VLIW archi-              only accounted for 68% of execution time
tectures promise legacy architecture                in a profile they ran. They also advocated
implementations which have higher per-              the direct use of JVM bytecodes, a stack-
formance, greater instruction-level paral-          based instruction set, as an intermedi-
lelism [Ebcioğlu and Altman 1996, 1997],           ate representation for JIT compilation and
higher clock rates [Altman et al. 2000a;            optimization. In retrospect, this is a mi-
Gschwind et al. 2000], and lower power              nority viewpoint; most later work, includ-
requirements [Klaiber 2000]. Binary                 ing Sun’s own [Sun Microsystems 2001],
translation work in these processors is             invariably began by converting JVM
still done by software at run-time, and is          code into a register-based intermediate
thus still dynamic binary translation, al-          representation.
though occasionally packaged under more               The interesting trend in Java JIT
fanciful names to enrapture venture capi-           work [Adl-Tabatabai et al. 1998; Bik et al.
talists [Geppert and Perry 2000]. The key           1999; Burke et al. 1999; Cierniak and
idea in these systems is that, for efficiency,      Li 1997; Ishizaki et al. 1999; Krall and
the target VLIW should provide a super-             Grafl 1997; Krall 1998; Yang et al. 1999]
set of the source architecture [Ebcioğlu           is the implicit assumption that mere
and Altman 1997]; these extra resources,
unseen by the source program, can be used           13 Gosling [2001] pointed out that the term just-
by the binary translator for aggressive             in-time was borrowed from manufacturing terminol-
optimizations or to simulate troublesome            ogy, and traced his own use of the term back to about
aspects of the source architecture.                 1993.


ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 25 of 64




108                                                                                                   Aycock

translation from bytecode to native code is                  these languages can be the same, if
not enough: code optimization is necessary                   the JIT system is only performing op-
too. At the same time, this work recognizes                  timization on-the-fly). We call a JIT
that traditional optimization techniques                     system monoexecutable if it can only
are expensive, and looks for modifica-                       execute one of these languages, and
tions to optimization algorithms that                        polyexecutable if can execute more
strike a balance between speed of algo-                      than one. Polyexecutable JIT systems
rithm execution and speed of the resulting                   have the luxury of deciding when com-
code.                                                        piler invocation is warranted, since ei-
   There have also been approaches to                        ther program representation can be
Java JIT compilation besides the usual                       used.
interpret-first-optimize-later. A compile-               (3) Concurrency. This property charac-
only strategy, with no interpreter whatso-                   terizes how the JIT compiler executes,
ever, was adopted by Burke et al. [1999],                    relative to the program itself. If pro-
who also implemented their system in                         gram execution pauses under its own
Java; improvements to their JIT directly                     volition to permit compilation, it is not
benefited their system. Agesen [1997]                        concurrent; the JIT compiler in this
translated JVM bytecodes into Self code,                     case may be invoked via subroutine
to leverage optimizations already exist-                     call, message transmission, or transfer
ing in the Self compiler. Annotations were                   of control to a coroutine. In contrast, a
tried by Azevedo et al. [1999] to shift the                  concurrent JIT compiler can operate as
effort of code optimization prior to run-                    the program executes concurrently: in
time: information needed for efficient JIT                   a separate thread or process, even on a
optimization was precomputed and tagged                      different processor.
on to bytecode as annotations, which were
then used by the JIT system to assist its                  JIT systems that function in hard real
work. Finally, Plezbert and Cytron [1997]                time may constitute a fourth classifying
proposed and evaluated the idea of “con-                 property, but there seems to be little re-
tinuous compilation” for Java in which                   search in the area at present; it is un-
an interpreter and compiler would exe-                   clear if hard real-time constraints pose
cute concurrently, preferably on separate                any unique problems to JIT systems.
processors.14                                              Some trends are apparent. For instance,
                                                         implicitly invoked JIT compilers are defi-
3. CLASSIFICATION OF JIT SYSTEMS                         nitely predominant in recent work. Exe-
                                                         cutability varies from system to system,
In the course of surveying JIT work, some                but this is more an issue of design than
common attributes emerged. We propose                    an issue of JIT technology. Work on con-
that JIT systems can be classified accord-               current JIT compilers is currently only be-
ing to three properties:                                 ginning, and will likely increase in impor-
(1) Invocation. A JIT compiler is explic-                tance as processor technology evolves.
    itly invoked if the user must take some
    action to cause compilation at run-                  4. TOOLS FOR JIT COMPILATION
    time. An implicitly invoked JIT com-                 General, portable tools for JIT compilation
    piler is transparent to the user.                    that help with the dynamic generation of
(2) Executability. JIT systems typically                 binary code did not appear until relatively
    involve two languages: a source lan-                 recently. To varying degrees, these toolkits
    guage to translate from, and a tar-                  address three issues:
    get language to translate to (although
                                                         (1) Binary code generation. As argued
14 As opposed to the ongoing optimization of Kistler’s
                                                             in Ramsey and Fernández [1995],
[2001] “continuous optimization,” only compilation           emitting binary code such as machine
occurred concurrently using “continuous compila-             language is a situation rife with oppor-
tion,” and only happened once.                               tunities for error. There are associated

                                                              ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 26 of 64




Brief History of Just-In-Time                                                                            109

                                        Table 1. Comparison of JIT Toolkits

                                             Binary code  Cache                    Abstract
          Source                             generation coherence      Execution   interface   Input
          Engler [1996]                             •           •             •       •        ad hoc
          Engler and Proebsting [1994]              •           •             •       •        tree
          Fraser and Proebsting [1999]              •           •             •       •        postfix
          Keppel [1991]                                         •             •       •        n/a
          Ramsey and Fernández [1995]              •                                          ad hoc
          Note: n/a = not applicable.


    bookkeeping tasks too: information                       Table I gives a comparison of the
    may not yet be available upon initial                  toolkits. In addition to indicating how
    code generation, like the location of for-             well the toolkits support the three areas
    ward branch targets. Once discovered,                  above, we have added two extra cate-
    the information must be backpatched                    gories. First, an abstract interface is one
    into the appropriate locations.                        that is architecture-independent. Use of
                                                           a toolkit’s abstract interface implies that
(2) Cache coherence. CPU speed ad-                         very little, if any, of the user’s code
    vances have far outstripped mem-                       needs modification in order to use a
    ory speed advances in recent years                     new platform. The drawbacks are that
    [Hennessy and Patterson 1996]. To                      architecture-dependent operations like
    compensate, modern CPUs incorpo-                       register allocation may be difficult, and
    rate a small, fast cache memory, the                   the mapping from abstract to actual ma-
    contents of which may get temporar-                    chine may be suboptimal, such as a map-
    ily out of sync with main memory.                      ping from RISC abstraction to complex in-
    When dynamically generating code,                      struction set computer (CISC) machinery.
    care must be taken to ensure that the                    Second, input refers to the structure, if
    cache contents reflect code written to                 any, of the input expected by the toolkit.
    main memory before execution is at-                    With respect to JIT compilation, more
    tempted. The situation is even more                    complicated input structures take more
    complicated when several CPUs share                    time and space for the user to produce and
    a single memory. Keppel [1991] gave a                  the toolkit to consume [Engler 1996].
    detailed discussion.                                     Using a tool may solve some prob-
(3) Execution. The hardware or operat-                     lems but introduce others. Tools for bi-
    ing system may impose restrictions                     nary code generation help avoid many
    which limit where executable code                      errors compared to manually emitting bi-
    may reside. For example, memory ear-                   nary code. These tools, however, require
    marked for data may not allow ex-                      detailed knowledge of binary instruction
    ecution (i.e., instruction fetches) by                 formats whose specification may itself be
    default, meaning that code could be                    prone to error. Engler and Hsieh [2000]
    generated into the data memory, but                    presented a “metatool” that can automat-
    not executed without platform-specific                 ically derive these instruction encodings
    wrangling. Again, refer to Keppel                      by repeatedly querying the existing sys-
    [1991].                                                tem assembler with varying inputs.

  Only the first issue is relevant for JIT                 5. CONCLUSION
compilation to interpreted virtual ma-
chine code—interpreters don’t directly ex-                 Dynamic, or just-in-time, compilation is
ecute the code they interpret—but there is                 an old implementation technique with
no reason why JIT compilation tools can-                   a fragmented history. By collecting this
not be useful for generation of nonnative                  historical information together, we hope to
code as well.                                              shorten the voyage of rediscovery.

ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 27 of 64




110                                                                                                      Aycock

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                                                                 ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 28 of 64




Brief History of Just-In-Time                                                                            111

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ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 29 of 64




112                                                                                                   Aycock

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                                                              ACM Computing Surveys, Vol. 35, No. 2, June 2003.
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Brief History of Just-In-Time                                                                            113

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ACM Computing Surveys, Vol. 35, No. 2, June 2003.
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 31 of 64




                        EXHIBIT I
     Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 32 of 64



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19                                   UNITED STATES DISTRICT COURT

20                              NORTHERN DISTRICT OF CALIFORNIA

21                                      SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                                  Case No. CV 10-03561 WHA
23                      Plaintiff,                         PLAINTIFF’S RESPONSES AND
                                                           OBJECTIONS TO DEFENDANT
24          v.                                             GOOGLE INC.’S FIRST SET OF
                                                           INTERROGATORIES TO
25   GOOGLE INC.                                           PLAINTIFF ORACLE AMERICA,
                                                           INC. (NOS. 1-10)
26                      Defendant.
                                                           Dept.: Courtroom 9, 19th Floor
27                                                         Judge: Honorable William H. Alsup
28
     ORACLE AMERICA’S RESPONSES AND OBJECTIONS TO GOOGLE’S FIRST SET OF INTERROGATORIES
     CASE NO. CV 10-03561 WHA
     pa-1435675
     Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 33 of 64



 1   INTERROGATORY NO. 8:
 2             Identify with specificity all portions of the Java documentation that were automatically
 3   generated using software and explain how each was generated.
 4   RESPONSE TO INTERROGATORY NO. 8:
 5             Generally, all Java API documentation is automatically generated using the Javadoc
 6   software tool. Javadoc is a documentation generator developed by Sun Microsystems. Javadoc is
 7   used to generate API documentation in HTML format from Java source code, based on
 8   standardized tags and comments written by source code programmers. A Javadoc comment is set
 9   off from source code by comment tags “/**” and “*/”. For example, the first paragraph in such a
10   comment may be a description of the method documented. Next, certain tags are used to signify
11   certain information (e.g., @param name description describes a method parameter, @return
12   description describes a method return value, @throws describes an exception the method may
13   throw).
14             Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
15   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
16   responses are based on the information reasonably available at this time and Oracle will
17   supplement this response as appropriate under the Federal Rules of Civil Procedure.
18   INTERROGATORY NO. 9:
19             State in detail the terms of a fair, reasonable and non-discriminatory license to Oracle’s
20   TCK consistent with Oracle’s obligations under the Java Specification Participation Agreement,
21   including the bases of any computation of any monetary elements of such a license and an
22   explanation of why such a license is fair, reasonable and non-discriminatory.
23   RESPONSE TO INTERROGATORY NO. 9:
24             The JSPA permits a Specification Lead to impose terms and conditions as part of a TCK
25   license. Any interested party may license the Spec Lead’s TCK under “non-discriminatory, fair
26   and reasonable” terms and conditions and “such terms and conditions shall be determined by the
27   Spec Lead in its reasonable discretion.” (JSPA, § 5.F.I.) Oracle’s TCK licenses comport with its
28
     ORACLE AMERICA’S RESPONSES AND OBJECTIONS TO GOOGLE’S FIRST SET OF INTERROGATORIES                     18
     CASE NO. CV 10-03561 WHA
     pa-1435675
     Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 34 of 64



 1   obligations under the JSPA, and, with respect to the terms of its TCK licenses, Oracle directs
 2   Google to its TCK licenses produced in this action pursuant to Fed. R. Civ. P. 33(d).
 3          As for the terms of any TCK license to Android, none has ever been requested, and Oracle
 4   accordingly has never considered what reasonable terms or royalty computation of one might be.
 5   Issuing a TCK license to Android makes no sense, given that Android does not implement the
 6   entire Java specification and is accordingly not compliant.
 7          In addition to the general objections stated above, Oracle further objects to this
 8   interrogatory insofar as it seeks information protected from discovery by the attorney-client
 9   privilege or the attorney work-product doctrine. Oracle further objects to this request on the
10   grounds that determinations of why or whether the terms of any license are fair, reasonable, and
11   non-discriminatory are purely matters of legal opinion and are therefore not within the scope of
12   inquiry permitted by Fed. R. Civ. P. 33(a)(2). Discovery is ongoing, and Oracle has not yet
13   completed its investigation of the documents and facts relevant to the claims and defenses
14   asserted in this action. Accordingly, Oracle’s responses are based on the information reasonably
15   available at this time and Oracle will supplement this response as appropriate under the Federal
16   Rules of Civil Procedure.
17   INTERROGATORY NO. 10:
18          State in detail Oracle’s factual bases for its allegation that the doctrine of assignor
19   estoppel bars Google from challenging the validity of each of the patents-in-suit to which Oracle
20   contends the doctrine applies.
21   RESPONSE TO INTERROGATORY NO. 10:
22          Assignor estoppel bars Google from challenging the validity of any patent assigned by an
23   inventor with whom Google is in privity. Google hired named inventors of Oracle’s patents—
24   including at least Frank Yellin, co-inventor of the ’520 patent, and Lars Bak and Robert
25   Griesemer, co-inventors of the ’205 patent—to work on Java and Web browser technologies.
26   Google is in the best position to know how it availed itself of the inventors’ knowledge and
27   assistance. As the inventors’ employer, it is Google, not Oracle that possesses detailed
28
     ORACLE AMERICA’S RESPONSES AND OBJECTIONS TO GOOGLE’S FIRST SET OF INTERROGATORIES                 19
     CASE NO. CV 10-03561 WHA
     pa-1435675
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 35 of 64




                       EXHIBIT J
        Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 36 of 64

8/30/10 NYT B1                                                                                             Page 1




8/30/10 N.Y. Times B1
2010 WLNR 17231951

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                                                August 30, 2010


                                                   Section: B


                                      Software War Pits Oracle Vs. Google

                                                 STEVE LOHR

Software war builds following Oracle's filing of lawsuit against Google, accusing it of copyright and patent in-
fringement for its Android operating system for smartphones and other mobile devices; Oracle claims Google is
using ideas and code from Java software tools initially developed by Sun Microsystems in 1995; Sun was pur-
chased by Oracle in January; Google says software was built without using Sun's intellectual property, instead
claiming that Oracle seeks to re-establish corporate control of open-sourced Java technology; photo (M)



Free open-source software began with high-technology tinkerers and researchers. Sharing code and ideas was
their priority, not profits. In the tech industry, they were sometimes compared to socialists and communists.


   Those days are long gone. Some of the communal idealism remains, but as open-source software is used more
by big technology companies including I.B.M., Oracle, Hewlett-Packard, Google and Apple -- even Microsoft --
it has also become a weapon in corporate warfare.



An unusually public salvo came this month, when Oracle sued Google, accusing it of copyright and patent in-
fringement. Oracle claims that Google's Android operating system for smartphones and other mobile devices is
illegally using ideas and code from Java, a set of software tools initially developed by Sun Microsystems in
1995. Oracle bought Sun in January,


Google denies the charges against Android, which is also open-source software, saying that it built the operating
system and its own Java tools without using Sun's intellectual property.


Google instead sees the suit as a move by Oracle to re-establish corporate control of Java, something that Sun's
executives were reluctant to do. ''This action is not against Android per se but against any Java development not
sanctioned by Oracle,'' said Kent Walker, general counsel of Google. ''The lawsuit is trying to put the genie back
in the bottle.''




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        Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 37 of 64 Page 2
8/30/10 NYT B1




With open-source software, programmers can view the underlying source code and make modifications and fix
bugs, as long as they abide by certain rules. Open-source programs are typically distributed free.


An estimated three-quarters of all open-source software is chugging away in service of the profit-seeking cor-
porate world. It is used, in the form of the Linux operating system or the Apache Web server, to run data centers
that power the Web.


Every company deploys open source differently as a tool to cut costs or as a weapon to gain an advantage over
rivals.


The corporate battles are fought with software programmers who contribute to open-source programs, in the
marketplace with sales campaigns and in standards bodies that govern open-source projects. The Oracle-Google
clash is the exceptional case that ended up in court.


Their confrontation, according to Douglas Lea, a computer scientist at the State University of New York at Os-
wego, is a new front in what he calls ''the open-source proxy wars,'' in which big companies use open source to
gain an upper hand in the commercial marketplace.


''It's not so much good companies and bad companies in this kind of situation,'' said Mr. Lea, a member of the
executive committee of the Java Community Process, a group that defines Java features and standards. ''These
companies compete viciously and have different interests. And in this case, you have two corporations that
champion different forms of open source.''


The roots of the Oracle suit go back well before Oracle acquired Sun. After Sun made Java open source in 2006
to broaden its adoption, its strategy was to let developers and companies freely use the Java technology de-
ployed in data centers. Google was a major participant in contributing features and shaping standards for this
so-called big Java in the Java Community Process, where Sun (now Oracle) retains the status of first among
equals.


But Sun decided it would make money in the fast-growing field of cellphones with a set of software tools
tailored for that market, called Java Micro Edition. This ''small Java'' is free for most developers, but Sun negoti-
ates commercial licenses for big companies that want to make their own products. Licensees include Nokia, Re-
search In Motion, Motorola, LG, Samsung, Vodafone and T-Mobile.


These licenses are individually negotiated, typically involve payments of tens of millions of dollars a year, and
allow companies to modify code and not make those changes public, said a lawyer involved in rounds of these
negotiations, who asked not to be named because the contracts were private.


Google took a different course in the cellphone business. In 2007, it founded the Open Handset Alliance and was
joined by several cellphone makers and telecommunications companies. Its Android software is open source, un-




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        Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 38 of 64 Page 3
8/30/10 NYT B1




der a different licensing model, and outside Oracle's control.


''The dispute between Oracle and Google is really about control -- Google's ability to control the evolution of the
Android technology,'' said John Rizzo, vice president for technology strategy for the Aplix Corporation, which
makes Java-based software tools. Aplix is a member of both the Open Handset Alliance and the Java Com-
munity Process.


Still, Google and Sun held talks over the last three years about reaching an agreement, but they made little pro-
gress. Sun prepared the basis of the lawsuit that Oracle eventually filed, and identified the seven patents that Or-
acle accuses Google of infringing, said a former Sun manager, who asked not to be identified because of the
suit.


Sun eventually chose not to sue Google, the former Sun manager said, because it decided a patent lawsuit would
undercut the company's open-source efforts under Jonathan Schwartz, Sun's chief executive who resigned in
February after the Oracle acquisition.


In 2005, Sun released an open-source version of its Solaris operating system, which is used in data centers. Soft-
ware patents are controversial, especially among open-source developers. If Sun filed a patent suit, the former
manager said, Mr. Schwartz feared the move would alienate many open-source enthusiasts and potential custom-
ers, from Silicon Valley start-ups to governments around the world that are pursuing open-source initiatives.


The legal preparations were led by Noreen Krall, Sun's former chief intellectual property counsel. Ms. Krall
joined Apple this year as its senior director for intellectual property law and litigation. In March, Apple sued the
cellphone maker HTC, saying its Android-based phone infringed on patents for Apple's iPhone. Google was not
sued, but Google issued a statement saying ''we stand behind'' the Android operating system and its industry
partners.


With its purchase of Sun, ''Oracle acquired a lawsuit it could bring,'' said Eben Moglen, a law professor at
Columbia who advises on free and open-source software projects. And Oracle's chief executive, Lawrence J. El-
lison, Professor Moglen added, is ''taking advantage of this asset at a time when others are interested in fighting
Android.'' Mr. Ellison is a close friend of Apple's chief executive, Steven P. Jobs.


Oracle is mainly a traditional commercial software company, making its money selling software licenses. Oracle
supports Linux, but as a way to reduce the total hardware and software costs to customers using its database
software, the company's profit-making jewel. Oracle is pulling back from OpenSolaris.


For its part, Google is not in the traditional software business. Its model mimics broadcast television -- its ser-
vices (including software) are free, and it makes money on advertising.


The noncombatants -- open-source developers -- are hoping for an armistice between Oracle and Google, or at




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        Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 39 of 64 Page 4
8/30/10 NYT B1




least a swift resolution to remove the uncertainty.


''It's really hard to predict the consequences of big companies being nasty to each other,'' said Mr. Lea, the uni-
versity computer scientist.


PHOTO: Andy Rubin oversees product strategy for the Android operating system at Google. (PHOTOGRAPH
BY WALLY SANTANA/ASSOCIATED PRESS) (B4)

                                          ---- INDEX REFERENCES ---

COMPANY: SUN MICROSYSTEMS BELGIUM NV; SUN MICROSYSTEMS DO BRASIL INDUSTRIA E
COMERCIO LDA; VODAFONE EGYPT TELECOMMUNICATIONS COMPANY S AE; SUN MICROSYS-
TEMS DANMARK APS; SOFTWARE AG; SUN MICROSYSTEMS OY; HEWLETT PACKARD EUROPE
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       Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 40 of 64 Page 5
8/30/10 NYT B1




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AS; HEWLETT PACKARD NEDERLAND BV; SUN MICROSYSTEMS EUROPEAN HOLDING BV; SUN
MICROSYSTEMS GMBH; SAMSUNG SEMICONDUCTOR INC

NEWS SUBJECT: (Information Technology Crime (1IN42); Legal (1LE33); Intellectual Property (1IN75); Pat-
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(1CR05); Technology Law (1TE30); Online Legal Issues (1ON39); Business Management (1BU42); Business
Lawsuits & Settlements (1BU19))

INDUSTRY: (Software Products (1SO56); Electronics (1EL16); I.T. (1IT96); Java (1JA10); Software (1SO30);
Palmtop Computing (1PA77); Mobile Phones & Pagers (1WI07); Entertainment (1EN08); Information Manage-
ment (1IN35); Internet Regulatory (1IN49); Communications Software (1CO45); Palmtop Operating Systems &
Software (1PA15); Database Management Systems (1DA88); Broadcast TV (1BR25); Software Development
(1SO24); Consumer Products & Services (1CO62); Internet (1IN27); Consumer Electronics (1CO61); Internet
Software (1IN50); Software Technology (1SO75); Telecom (1TE27); Internet Technology (1IN39); I.T. in Tele-
com (1IT42); Telecom Equipment (1TE98); Security (1SE29); Programming Languages (1PR09); Telecom Con-
sumer Equipment (1TE03); TV (1TV19))

Language: EN

OTHER INDEXING: (ANDROID; APACHE WEB; APLIX; APLIX CORP; APPLE; GOOGLE; HEWLETT
PACKARD; JAVA; JAVA COMMUNITY PROCESS; LG; LINUX; MICROSOFT; NOKIA; OPEN HANDSET
ALLIANCE; ORACLE; SAMSUNG; SOFTWARE; SOFTWARE WAR PITS; STATE UNIVERSITY; SUN;
SUN MICROSYSTEMS; VODAFONE) (Douglas Lea; Eben Moglen; Ellison; I.B.M., Oracle; John Rizzo;
Jonathan Schwartz; Kent Walker; Krall; Lawrence J. Ellison; Lea; Licensees; Moglen; Noreen Krall; Oracle;
Schwartz; Sharing; Steven P. Jobs.; WALLY SANTANA)

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Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 41 of 64




                       EXHIBIT K
                                                                                                                                                     3/31/2011 12:43 PM
                              Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 42 of 64


                                                                                                                                  Print      Close




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            The 2011 installment of Mobile World Congress, which gathered 60,000
            professionals from 200 countries, served as the official coming-out party for the
            next generation of Google Android smartphones and tablets.

            Android had a massive, two-floor booth packed with all the new smartphones
            and tablets shipping in the coming months running off the various Android
            platforms, including Sony Ericsson's Xperia Play phone, which operates on
            Gingerbread, and LG's Optimus Pad tablet, which is powered by Honeycomb.

            The Android booth featured a huge arcade section where developers from
            around the world showcased the next generation of mobile games. While
            graphics and gameplay have improved in the mobile space over the years, the
            new wave of smartphones and tablets will push the capabilities of these devices
            to the level of PlayStation 3 or Xbox 360 -- and beyond even the best iPhone 4                                           ADVERTISEMENT
            and iPad games that are currently on the market.

            Check out FOXBusiness.com's new technology page at foxbusiness.com/technology

            "Video games drive the mobile business because they're the best showcase of what these new devices can really do," said
            Gonzague de Vallois, senior vice president of publishing at Gameloft, one of the largest mobile game companies in the world. "Our
            experience in the console market is helping us deliver quality titles to these new devices for the mobile market."

            Gameloft, which previously supported Apple's launch of iPhone and iPad with games, had franchises like Asphalt 6, Let's Golf and
            NOVA running in autostereoscopic (glasses free) 3D at LG's booth on the new Optimus 3D phone. The company also will support
            the March launch of Xperia Play with 10 titles, including Star Battalion. And the publisher has recently started developing new
            games to run on NVIDIA's Tegra 2 dual-core technology.

            Tegra 2 brings PC gaming graphics and speed from just a few years ago to the mobile space on new Android smartphones and
            tablets, which will run 10x faster than the processors in today's smartphones like iPhone 4. The Tegra 2's dedicated graphics
            processor also delivers 1080p HDTV playback of movies, TV shows and games. On battery life, Tegra's ultra low-power design
            delivers over 16 hours of HD video or 140 hours of music on a single charge.

            "This technology will impact the games we release because it will absolutely increase the available market," said Mike Breslin, vice
            president of marketing, Glu Mobile. "There will be a lot more people with access to these new smartphones and tablets thanks to the
            marketing push from Google, NVIDIA and all of the consumer electronics companies, carriers and headset makers."

            Last fall, Android overtook Symbian to become the top smartphone platform in the world. According to research firm Canalys, global
            sales of Android phones in the fourth quarter of 2010 was 33.3 million, compared to 31 million Symbian phones, 16.2 million Apple
            phones, 14.6 million RIM devices and 3.1 million Microsoft phones.

            Overall, the global smartphone market grew 89% compared to the fourth quarter of 2009, exceeding 100 million units for the first
            time. And 2011 is poised to be an even bigger breakthrough year for Android.

            Another new trend showcased at Mobile World Congress was cross-platform gaming on Android and Tegra devices, which will allow
            players to team up in games like Trendy Entertainment's Dungeon Defenders: First Strike to play across PlayStation 3, PC and
            mobile platforms.

            "This is a really profound change in the way mobile games are designed," said Jeremy Stieglitz, development director at Trendy
            Entertainment. "There will be a huge influx of quality content very quickly on these new Tegra-based platforms, where you basically
            can have the same game running on a mobile device as you have on a PC or console."

            NVIDIA showcased brand new Tegra 3 technology at the show, code-named Kal-El after Superman. New phones will ship with this
            quad-core chip beginning this August and tablets will follow in late fall. NVIDIA demonstrated a game, Great Battles Medieval, that
            ran at 720p HD and featured 650 enemy soldiers on the field at once.

            According to Michael Rayfield, general manager of NVIDIA's mobile business unit, over the next three years projects codenamed




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                                   Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 43 of 64

            Wayne, Logan, and Stark will further push the gaming potential of mobile devices. By 2014, when Stark becomes a reality, the
            technology will feature a 75x improvement over the performance of today's Tegra 2.

            "Our customers and partners have already indicated that they're confident they can use everything we give them," said Rayfield.

            HTC introduced a new tablet, Flyer, which will introduce streaming subscription video game service OnLive to the mobile space.
            Gamers will be able to play games like Assassin's Creed Brotherhood, NBA 2K11 and LEGO Harry Potter on the new tablet, or
            connect the tablet to any HDTV, without needing to buy any new hardware or software.

            There is a negative side to the increased capabilities of mobile gaming. And that's for portable gaming companies like Sony, which
            will launch its Next Generation PlayStation (NGP) system this fall.

            "IHS believes that the market opportunity for a specialist device such as the NGP is shrinking rather than growing, and that short-
            and medium-term market conditions are less supportive of the release of a high-end handheld console," said Piers Harding-Rolls,
            video game analyst at HIS Screen Digest.

            Harding-Rolls said by the end of the fourth year after its release, the NGP is expected to accrue a total installed base of 22.8 million
            units. In comparison, the PSP achieved a base of 30.7 million, 34.8% higher, during the same length of time.

            "The competitive landscape for handheld and on-the-move gaming has been highly disrupted in recent times, with disruption
            occurring on the device, content and distribution levels," added Harding-Rolls.

            Moving forward, more consumers will use one device for everything, including gaming, multimedia, entertainment and Web
            browsing. And Android is perfectly positioned to take advantage of this shift.

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Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 44 of 64




                       EXHIBIT L
                                                                                                                                                                              3/31/2011 12:53 PM
                          Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 45 of 64




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               TECHNOLOGY            FEBRUARY 17, 2011




               System Powers Slew of New Devices; Some Fear Market Duopoly With Apple's iOS
               By SHAYNDI RAICE

               A year after wireless carriers gave Google Inc. a testy reception at their big industry conference in Barcelona, the
               software company's Android operating system has become the star of the show.

               Android powers every significant device launched at the Mobile World Congress and is benefiting from a big
               marketing push by Google to trumpet its arrival.

               Beyond the hype, it's becoming increasingly evident to carriers, handset makers and app developers that Android
               is on equal footing, if not surpassing in some ways, Apple Inc.'s iOS platform. The concern now is that it could
               become too powerful.

                                                                                     Nokia Corp. Chief Executive Stephen Elop said one reason he
                                                                                     decided to put his chips on Microsoft Corp.'s Windows Phone 7
                                                                                     platform instead of Android was because he was concerned
                                                                                     about creating a duopoly in the marketplace where Google and
                                                                                     Apple would maintain all the power.

                                                                                     That underscores the ambivalence of carriers that are relying on
                                                                                     Android for hit devices but worry about market concentration.

                                                                                     "To just have two companies is probably not healthy for the
                                                                     Demotix
                                                                                     ecosystem," said Fared Adib, vice president for device
                Attendees mingle at this week's conference in
                Barcelona, where many companies launched devices                     operations at Sprint Nextel Corp.
                powered by Google's Android operating system.
                                                                  Google's Android chief, Andy Rubin, puts no stock in that claim.
                                                                  "It makes me uncomfortable when people say something open
               source is too powerful," said Mr. Rubin, referring to the fact that Android code is available to anyone who wants
               to use it without any fee. "One of the reasons we've achieved such adoption is because we've removed all control."

                                                                                     Carriers have been wary of Google for some time. A year ago in
                Journal Community
                                                                                     Barcelona, Vodafone Group PLC Chief Executive Vittorio Colao
                                                                                     blasted Google's dominance of mobile advertising, suggesting
                                                                                     regulators should take a look. Telefonica SA Chairman Cesar
                                                                                     Alierta chimed in, complaining that search engines ride on top
                                                                                     of carriers' networks and don't share the money they make
                                                                                     doing so.

                                                                                     None of that has damped Android fever this year in Barcelona.




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                         Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 46 of 64

                                                                              The little green Android robot is ubiquitous. There are Android
                                                                              pins, an Android slide and there was even an Android drink at
                                                                              an exclusive party held the by company last night. Twitter Inc.
                                                                              Chief Executive Dick Costolo enjoyed some champagne from
                                                                              flutes sporting an Android logo in the VIP area with Google
                                                                              Chairman Eric Schmidt, as hordes of people waited outside the
                                                                              club clamoring for entrance to the show's most talked-about
                                                                              party.

                                                                 Samsung Electronics Co. introduced a new Galaxy S
               smartphone and tablet. HTC Corp. announced its first tablet along with five new smartphones. LG Electronics
               Inc. showed off its 8.9-inch G-Slate tablet and the first 3D phone. Sony Ericsson introduced the Xperia Play. All
               of those devices run on Android.

               Google's big presence at what has traditionally been a carriers' conference highlights the all-important role of
               software in a mobile industry where smartphones and data use are creating most of the value.

               Android devices have been around for a couple of years but only really started getting traction in the past 15
               months or so with the introduction of high-end devices by Motorola Mobility Holdings Inc. and HTC. Google says
               it's now activating over 300,000 Android-powered devices a day, with 170 devices on the market and 169
               carriers.

               Some companies feel that even if Google is gaining uncomfortable amounts of power in the mobile market, they
               have no choice but to get on board. LG, Samsung and especially Motorola all leveraged Android to get traction in
               the smartphone market.

               "I don't know that you can have it all," said Alain Mutricy, senior vice president, portfolio and devices product
               management for Motorola Mobility. "If you want to be at the forefront of technology, that's what you have to do."

               The bigger concern for carriers this year may be Apple. The combination of hugely popular devices with a closed
               ecosystem of applications and billing gives the company a tenacious hold on the loyalty of carriers' customers.

               This year, Vodafone's chief, Mr. Colao, specifically criticized vertically integrated closed systems when it comes
               to in-application billing and called for openness and competition.

               AT&T Inc. Chief Executive Randall Stephenson said content should be "device agnostic" and stored in the "cloud"
               on AT&T's network.

               Mr. Schmidt picked up the theme in his keynote Tuesday evening, saying cloud-based applications built on
               HTML5 could allow devices to become interchangeable.

               "All of a sudden, you have this ability, this agility," he said.

                —Gustav Sandstrom contributed to this article.



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Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 47 of 64




                       EXHIBIT M
               Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 48 of 64




 MONDAY NOV 05, 2007

 Congratulations Google, Red Hat and the Java Community!
                   I just wanted to add my voice to the chorus of others from Sun in offering my heartfelt
                   congratulations to Google on the announcement of their new Java/Linux phone platform,
                   Android. Congratulations!
                   I'd also like Sun to be the first platform software company to commit to a complete developer
                   environment around the platform, as we throw Sun's NetBeans developer platform for mobile
                   devices behind the effort. We've obviously done a ton of work to support developers on all
                   Java based platforms, and were pleased to add Google's Android to the list.
 The Java platform has come a long way - we're on the vast majority of mobile
 devices in the marketplace today (well over a billion phones at last count),
 and with Google's mobile services (like gMail and Google Maps), along with
 Yahoo!'s Go Mobile, alongside a massive spectrum of incredible
 entertainment offerings from folks like Electronic Arts, we have by far and
 away the most complete content ecosystem on the market today. Enabling
 carriers, handset manufacturers, content creators - and most of all,
 consumers - to get the most from their mobile devices.
                   And needless to say, Google and the Open Handset Alliance
                   just strapped another set of rockets to the community's
                   momentum - and to the vision defining opportunity across
                   our (and other) planets.
                   Today is an incredible day for the open source community,
                   and a massive endorsement of two of the industry's most
                   prolific free software communities, Java and Linux.
 Stay tuned for specific details - for those so inclined, download NetBeans here to check out the industry's most
 popular IDE for mobile Java development.
 And in the spirit of offering congratulations, I'd like to offer a similar shout out to our friends at Red Hat Linux
 - who today announced their support for the OpenJDK project. With friends like Google and Red Hat, it sure
 seems like the momentum behind Java's on the rise...
 Posted on 01:27PM Nov 05, 2007 | Comments[76]




         Comments:

         Why isn't Sun part of the OpenHandsetAlliance? Is it another case of NIH, since Google is not using
         JavaFXMobile so Sun doesn't want to be part of it?
         Posted by Enaiel on November 05, 2007 at 02:07 PM PST #

         Jonathan, it is amazing the amount of value this has brought to Google's share prices as the investment
         world was speculating on Google's play in this industry.
         It is companies like Sun and Google, which are helping the possibility and connectivity of the net
         expand on a daily basis.
         Thank you


http://blogs.sun.com/jonathan/entry/congratulations_google
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 49 of 64




                       EXHIBIT N
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 50 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 51 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 52 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 53 of 64




                       EXHIBIT O
http://lists.w3.org/Archives/Public/www-talk/1995JulAug/0440.html#sta...                                       11/11/2010 12:31 AM
                         Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 54 of 64




            From: James Gosling <jag@scndprsn.eng.sun.com>
            Date: Mon, 21 Aug 1995 14:48:43 +0800
            Message-Id: <9508212148.AA18759@norquay.Eng.Sun.COM>
            To: info@eolas.com, ses@tipper.oit.unc.edu
            Cc: www-talk@w3.org

             >   > The licensed technology was invented in 1993 by a team led by Eolas CEO, Dr.
             >   > Michael Doyle, a UCSF faculty member and past Director of the university's
             >
             >   In that case, the patent is worthless. Dynamic exchange of executable
             >   code over the internet for use in rendering documents has been addressed
             >   many times before. For example, a standard for the exchange of such
             >   information was discussed at the spring 1992 meeting of the implementors
             >   working group of NISO sub-committee Z39.50 which took place at the
             >   Library of Congress in Washington.

             There's also Java which was started in 1990 and first demo'd in 1991;
             the NeWS window system which transmitted executable application code
             starting in 1985; PostScript was really dynamic exchange of executable
             code for rendering documents, and it was done in 1980. Based of course
             on ideas from Interpress where executable code for rendering documents
             was being transmitted in the late 70s. Then there was a lisp system,
             whose name a forget, which ran on Xerox's PDP-10 clones (MAXC) and
             could dynamically download ui's/behaviour/graphics to Alto's in the
             early 70s.

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                                                                       1 of 1
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 55 of 64




                       EXHIBIT P
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 56 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 57 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 58 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 59 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 60 of 64




                       EXHIBIT Q
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 61 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 62 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 63 of 64
Case 3:10-cv-03561-WHA Document 103 Filed 03/31/11 Page 64 of 64
